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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT


JANEL GRANT,                                                     )
                                                                 )
          Plaintiff,                                             )       Civil Action No.:
                           _________3:24-cv-0090-SFR
                                                                 )
vs.                                                              )
                                                                 )        JURY TRIAL DEMANDED
WORLD WRESTLING ENTERTAINMENT,                                   )
INC. n/k/a WORLD WRESTLING                                       )
ENTERTAINMENT, LLC; VINCENT K.                                   )
MCMAHON; and JOHN LAURINAITIS,                                   )
                                                                 )        January 31, 2025
          Defendants.                                            )


                                     FIRST AMENDED COMPLAINT

         Plaintiff JANEL GRANT, by and through her undersigned counsel, hereby files this

Complaint against Defendants WORLD WRESTLING ENTERTAINMENT, INC. n/k/a

WORLD WRESTLING ENTERTAINMENT, LLC (“WWE” or the “Company”), VINCENT K.

MCMAHON (“McMahon”), and JOHN LAURINAITIS (“Laurinaitis”), alleging as follows:

                                                INTRODUCTION

         1.       Plaintiff Janel Grant is a former employee of WWE who was the, as both federal

investigators and counsel for John Laurinaitis confirm, was a victim1 of physical and emotional

abuse, sexual assault and trafficking at WWE. Ms. Grant is filing this lawsuit not just to address

her own suffering, but also to act for those who are afraid to speak out.




1
  See Tim Marchman, Co-Defendant in Vince McMahon Sex Trafficking Lawsuit Says He Was a Victim Too, Vice
Media,
https://www.vice.com/en/article/co-defendant-in-vince-mcmahon-sex-trafficking-lawsuit-says-he-was-a-victim-too/
(last updated Feb. 1, 2024). Ms. Grant has also received communications from the federal “Victim Notification
System.”

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         2.       WWE’s billionaire Founder & Executive Chairman, Defendant Vincent K.

McMahon, lived in a penthouse duplex in Ms. Grant’s apartment building.

         3.       The two met in March 2019, when Ms. Grant was dealing with profound grief and

struggling financially – —after devoting years to around-the-clock caregiving, her parents passed

away. On top of that, she was unemployed and her family home was lost in her parents’

bankruptcy.

         4.       After her family passed away, Ms. Grant dedicated herself to finding gainful

employment. Neighbors in her building provided career advice and sought her assistance with

personal events. Ms. Grant used these non-paying roles and volunteer work in community

initiatives to build her resume.

         5.       The building’s Resident Manager wanted to help. She messaged McMahon to

ask whether he would talk to her, sharing that Ms. Grant had been through hardship and would

do great things if given a fresh start. McMahon enthusiastically responded, “Hell Yes!!”

         6.       McMahon befriended Ms. Grant, giving her hopes of a new life with promises of

a yet-to-be-determined role at WWE, and showering her with attention and assurances, along

with gifts like a VIP experience at WrestleMania. But what seemed like a dream in the Spring of

2019 quickly became a nightmare.

         7.       As McMahon dangled career-making and life-changing promises in front of Ms.

Grant, he demonstrated an increasing lack of boundaries. During several meetings that were

ostensibly about a potential job at WWE, he greeted her in his underwear, touched her,

repeatedly asked for hugs, and spent hours sharing intimate details about his personal life.




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         8.       McMahon warned Ms. Grant to keep their “closeness” secret, lest rumors lead to

public trouble – —and added that, while he protects loyal people, he had world-class legal

resources on speed-dial to deal with people who became a problem.

         9.       As such, when McMahon pushed Ms. Grant for a physical relationship in return

for long-promised employment at WWE, she felt trapped in an impossible situation: submitting

to McMahon’s sexual demands or facing ruin. Ms. Grant feared she had everything to lose and

faced negative consequences no matter what happened.

         10.      After succumbing to the pressure for a physical relationship, Ms. Grant was

slotted into an entry-level position as an “administrator-coordinator”—a position McMahon

created for her in WWE’s legalLegal department. Ms. Grant began work in that role on June 17,

2019.

         11.      Ms. Grant remained in that role, with the exception of a temporary relocation to

XFL (Extreme Football League), until McMahon verbally directed her to transfer to the Talent

Relations department, reporting to Defendant John Laurinaitis, on March 9, 2021. During a

conversation the same day, McMahon explained that her presence in the legalLegal department

was effectively delaying efforts to hire a new General Counsel for the companyCompany.

         12.      McMahon and Laurinaitis informed Ms. Grant that she would be promoted to

Vice President of Operations in the Talent Relations department, providing her with an

organizational chart reflecting this decision.

         13.      Shortly thereafter, they informed her that they needed her to begin at a lower level

as a director, but promised her promotion to Vice President after a 12-month period.

         14.      Despite Ms. Grant’s expressions of unhappiness and attempts to end the sexual

relationship—and while she came to understand that McMahon expected the physical



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relationship to continue as part of her employment—she had no idea how sordid it would

become, nor how the psychological torture and physical violence would leave her feeling

helpless, isolated and trapped.

         15.      McMahon treated Ms. Grant as a commodity—offering her to other men. In

March 2020, McMahon began sharing sexually explicit photographs and videos of Ms. Grant

(including pornographic content he recorded on his cell phone) with other men both inside and

outside the companyCompany, including with members of the television production “tech” team,

executive(s), producer(s), and a world-famous athlete and former UFC Heavyweight Champion,

Brock Lesnar, with whom WWE was actively trying to sign to a new contract (and ultimately did

sign that contract).

         16.      McMahon actively requested, directed, encouraged, insisted, and ultimately

conditioned Ms. Grant to create and send sexually explicit content during, but not limited to,

writers’ meetings, production meetings, while running live television broadcasts in “gorilla

position,” and while on the corporate jet traveling both domestically and internationally.

McMahon even knowingly solicited and received Ms. Grant’s sexually explicit content while

being filmed for a global streamer. McMahon noticed when Ms. Grant did not comply with his

directions and inquired or interrogated her about her creation of content.

         17.      16. Given McMahon’s omnipotent position at WWE, coercion was inherent in his

increasingly depraved sexual demands. Specifically, while McMahon was CEO of WWE and

Ms. Grant was employed as an entry level coordinator in the legalLegal department, McMahon

recruited individuals to have sexual relations with Ms. Grant and/or with the two of them,

directed Ms. Grant to visit Defendant Laurinaitis prior to the start of workdays for sexual




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encounters, and expected and directed Ms. Grant to engage in sexual activity at the WWE

headquarters, even during working hours.

         18.      17. All this time, McMahon ordered Ms. Grant to keep their relationship secret

(unless otherwise instructed), including lying to maintain whatever cover stories he fabricated.

         19.      18. McMahon’s assurances that Ms. Grant was safe and independent rang hollow

in light of his efforts to isolate her from friends and attempts to chip away at her identity until it

was replaced with his desired role for her as his “bitch,” his “fantasy,” and/or his “porn star”

(while occasionally intermixing softer descriptors like “girlfriend” and “baby,” even “love” when

convenient).       He exercised complete ownership and control over both her personal and

professional liveslife.

         20.      19. McMahon also subjected Ms. Grant to acts of extreme cruelty and degradation

that caused Ms. Grant to disassociate and/or become numb to reality in order to survive the

horrific encounters.

         21.      20. As one example of McMahon’s extreme depravity, on May 9, 2020, he

defecated on Ms. Grant during a threesome, and then commanded her to continue pleasuring his

“friend”—with feces in her hair and running down her back—while McMahon went to the

bathroom to shower off. Upon his return from the bathroom, McMahon and his “friend” actively

resumed the threesome, which lasted over an hour and a half, while Ms. Grant remained covered

in McMahon’s filth. When McMahon’s “friend” left, McMahon ordered her to stay and to

continue to sexually gratify him.

         22.      21. In June 2021, McMahon and Defendant Laurinaitis sexually assaulted Ms.

Grant inside Laurinaitis’ office in WWE headquarters while colleagues were busy at their desks.

Behind a locked door, the two men cornered her and pulled her in between them, forcibly



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touched her, before ultimately putting her on top of a table in between them. She begged them to

stop, but they forced themselves on her, each taking turns restraining her for the other, while

saying “No means yes” and “Take it, bitch.”

         23.      Events like this left Ms. Grant in physical and psychological pain. Ms. Grant

confided in friends and colleagues about her declining health and mental state, as well as her

ongoing grief over the loss of her family, but she was ultimately isolated from that support

network by McMahon and his executive enforcers.

         24.      22. Unsurprisingly, others at WWE knew what was going on. But instead of

intervening to protect Ms. Grant, WWE viewed and dealt with her as a corporate liability and

actively sought to conceal the wrongdoing., both while she was at WWE and after the end of her

employment. McMahon himself said to Ms. Grant, “unfortunately, you appear to have my

company over a barrel” before transferring her to Talent Relations.

         25.      23. In January 2022, McMahon told Ms. Grant that his wife had found out about

their relationship. Purportedly to avoid divorce, negative publicity, and other repercussions, and

despite the fact that Ms. Grant never expressed a desire to take legal action, McMahon said that

Ms. Grant’s time at WWE was at an end, but that he wanted her to sign an NDA to ensure her

silence on, among other things, his personal misconduct.

         26.      24. In the days ahead, McMahon put Ms. Grant under immense pressure to sign,

saying that refusing would not only jeopardize McMahon, his family, and the companyCompany,

but that she’d surely become a public headline, suffer reputational ruin (including from the

pornographic content McMahon had captured), and face McMahon’s legal resources.

Conversely, McMahon reassured her that her signature would ensure his continued support and

protection and safeguard her reputation. Ultimately, without any meaningful choice, Ms. Grant



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succumbed to the pressure and signed the NDA in exchange for payments – —which McMahon

later stopped making.

         27.      25. Even after pushing Ms. Grant out of the Company and muzzling her with an

NDA, McMahon continued efforts to exploit her, including attempting to traffic her to a WWE

star Brock Lesnar who would be in New York City for a live event and TV taping in March

2022.

         28.      26. Understandably, Defendants’ predatory conduct has left Ms. Grant crippled,

both physically and mentally, including from debilitating symptoms of post-traumatic stress

disorder and suicidal ideation. These symptoms led to her termination from her subsequent job

running her building’s operations due to her inability to leave her home for weeks at a time.

         29.      27. Despite McMahon’s promise of reputational protection, WWE appears to

have leaked information that led to the public disclosure of her name by a media blogger who

cited “a source in #WWE with direct knowledge of the situation,” which, upon information and

belief, was an overt intimidation tactic aimed at Ms. Grant.

         30.      28. WWE has also attempted to sweep the matter under the rug. Following media

reports that McMahon was involved in a “hush money” payment scandal, WWE released a

statement in June 2022 to announce that a special committee of its board of directors was

investigating the alleged misconduct and appointing Stephanie McMahonWWE Corporate

Officer No. 3 as Interim CEO and Interim Chairwoman.

         31.      29. In this capacity, Ms. McMahonWWE Corporate Officer No. 3 publicly

affirmed her commitment to “doing everything in [her] power to help the Special Committee

complete its work . . . and to implement its findings.” She also declared the “importance of a




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safe and collaborative workplace.” Notwithstanding this public statement, the investigation was

a sham.

         32.      30. In November 2022, WWE touted the conclusion of the Special Committee

investigation into the misconduct – —yet the Special Committee never even bothered to

interview Ms. Grant or request any documents despite Ms. Grant stating that she would

cooperate.

         33.      31. In SEC filings, the Company tried to divert attention away from McMahon’s

abuse of women by focusing on the technical issue of how hush money was accounted for—in

the words of the Company, the issue was “immaterial accounting errors related to certain

payments that Mr. McMahon . . . agreed to make during the period from 2006 through 2022”

(emphasis added).

         34.      In January 2025, the U.S. Securities and Exchange Commission (“SEC”) charged

McMahon for violating federal securities laws by failing to disclose the NDA that is in dispute in

this case. Despite his public assertion that he did not engage in any intentional wrongdoing,

McMahon consented to the entry of the SEC’s order finding that he violated the Securities

Exchange Act by knowingly circumventing WWE’s internal accounting controls.

         35.      32. Through all this trauma, Ms. Grant has endured profound suffering in silence,

feeling of exploitation, loss of security, and the fear of facing the wrath of WWE and

McMahon’s army of attorneys if she were to come forward and bring to light the egregious acts

detailed herein. That time has passed, and Ms. Grant seeks to hold Defendants accountable for

their reprehensible and unlawful acts, for her own sake and for others.

         36.      33. Ms. Grant seeks a declaratory judgment that her NDA is invalid under Federal

and State laws and asserts claims other laws, including the Trafficking Victims Protection Act.



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                                                     PARTIES

         37.      34. Plaintiff JANEL GRANT, a Connecticut citizen, is a former employee of

WWE, having worked there from June 2019 through March 2022.

         38.      35. Defendant VINCENT K. MCMAHON, a Connecticut citizen, co-founded

WWE in 1980 and served on the board of directors of WWE from 1980 to September 2023. He

is currentlyresigned from his position as the Executive Chairman of the Board for TKO Group

Holdings LLC, Inc. one day after this lawsuit was filed.

         39.      36. Defendant WORLD WRESTLING ENTERTAINMENT, INC. n/k/a WORLD

WRESTLING ENTERTAINMENT, LLC (“WWE”) is a Delaware limited liability company,

whose sole managing member is TKO Group Holdings, Inc. (“TKO”), a Delaware corporation.

Until on or about September 12, 2023, WWE was a Delaware corporation with headquarters in



1
 Notably, in its recent Form 10-Q filed with the United States Securities and Exchange Commission, TKO admitted and
acknowledged that McMahon’s membership on TKO’s Board of Directors “could expose [TKO] to negative
         Connecticut.12 On September 12, 2023, a transaction completed between Endeavor

Group Holdings and World Wrestling Entertainment, Inc., resulted in a merger between the

WWE and Ultimate Fighting Championship (“UFC”) promotions and the formation of their new

parent company, TKO.




2
  Notably, in its recent Form 10-Q filed with the United States Securities and Exchange Commission, TKO admitted and
acknowledged that McMahon’s membership on TKO’s Board of Directors “could expose [TKO] to negative publicity and/or
have other adverse financial and operational impacts on [TKO’s] business.” See November 7, 2023 Form 10-Q by
TKO             Group          Holdings,          Inc.,          at          p.        52,       available         at
https://www.sec.gov/ix?doc=/Archives/edgar/data/1973266/000197326623000009/tko-20230930x10q.htmhttps://w
ww.sec.gov/ix?doc=/Archives/edgar/data/1973266/000197326623000009/tko-20230930x10q.htm (last accessed on
NovemberNov. 22, 2023).

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         40.      37. Defendant JOHN LAURINAITIS, an Arizona citizen, is the former Head of

Talent Relations and General Manager at WWE, who on information and belief was officially

dismissed by WWE in August 2022 (amid allegations of misconduct by women in WWE).

                         NON-PARTY OFFICERS/EMPLOYEES OF WWE

         41.      38. At all times relevant, “WWE Corporate Officer No. 2”Brad Blum was a

high-ranking employee at WWE who made hiring decisions, conducted prospective employee

interviews, and maintained significant control over personnel decisions.                 WWE Corporate

Officer No. 2Blum worked in these capacities during Ms. Grant’s employment with WWE. This

individual is referred to herein as “WWE CorporateHe served as WWE’s Chief Operating

Officer No. 2.”before resigning in May of 2024.3

         42.      39. At all times relevant, “WWE Corporate Officer No. 1”Nick Khan was a

high-ranking employee and Board member at WWE during Ms. Grant’s employment with

WWE. WWE Corporate Officer No. 1Khan continued to work in high-ranking positions in

connection with the September 12, 2023, merger. This individual is referred to herein as “WWE

Corporate Officer No. 1.”He is currently serving as President of WWE and a Board member of

TKO.4

         43.      40. At all times relevant, “WWE Corporate Officer No. 3” was a high-ranking

employee and/or Board member during Ms. Grant’s employment with WWE. This individual is

referred to herein as “WWE Corporate Officer No. 3.”

         44.      41. At all times relevant, “WWE Corporate Officer No. 4” was a high-ranking

employee at WWE who worked with legal affairs at the company. WWE Corporate Officer No.


3
  See May 3, 2024, WWE COO Brad Blum resigns in wake of Vince McMahon sex trafficking lawsuit: report, New
York                               Post,                             available                              at
https://nypost.com/2024/05/03/business/wwe-coo-brad-blum-resigns-amid-vince-mcmahon-sex-trafficking-lawsuit/.
4
  See Who Are We, WWE, available at https://corporate.wwe.com/about/who-we-are (last accessed Jan. 30, 2025).

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4Brian Nurse was WWE’s Senior Vice President, General Counsel & Secretary. Nurse held that

position in Legal Affairs from the time of Ms. Grant’s initial employment with WWE until

sometime in 2020. This individual is referred to herein as “WWE Corporate Officer No. 4.”

         45.      42. “WWE Superstar”Brock Lesnar is a professional wrestling superstar who

performsperformed at WWE-branded wrestling events.                          During the time of Ms. Grant’s

employment, McMahon signed WWE SuperstarBrock Lesnar to a new Booking Contract with

WWE. This individual is referred to herein as “WWE Superstar.”

                                       JURISDICTION AND VENUE

         46.      43. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331

because Ms. Grant’s claims under the Trafficking Victims Protection Act, 18 U.S.C. §§ 1591,

1595 (“TVPA”), and her cause of action for declaratory relief under the Speak Out Act, 42

U.S.C. § 19401 et seq., all raise a federal question.

         47.      44. This Court also has supplemental jurisdiction over Ms. Grant’s state-law

claims pursuant to 28 U.S.C. § 1367 because the claims are so related to the TVPA claims as to

form part of the same case or controversy.

         48.      45. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2), as a

substantial part of the events or omissions giving rise to the claims occurred in the District of

Connecticut.




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                                         FACTUAL ALLEGATIONS

I.       Ms. Grant’s History with McMahon, Laurinaitis and WWE

         A.       Ms. Grant’s Introduction to McMahon Turns into a Two-Hour Meeting
                  Between a Potential Entry-Level Employee and a Billionaire CEO.

         49.      46. Prior to having any involvement with WWE, Ms. Grant was dealing with

profound grief following the loss of her parents, whom she cared for full-time as their sole

caretaker.

         50.      47. After her family passed away, Ms. Grant dedicated herself to finding gainful

employment. During this time, Ms. Grant often ran into McMahon’s two personal assistants in

her building (one of whom was a former grade school classmate of Ms. Grant).

         51.      48. Ms. Grant’s closest friend in the building was the resident manager. That

individual is referred to herein as “Resident Manager.” Similar in personality, Ms. Grant and

Resident Manager bonded over stories of adversity as they coordinated community initiatives in

the building together.           Resident Manager was aware of Ms. Grant’s efforts to obtain

employment.

         52.      49. In March 2019, Ms. Grant remained unsuccessful in securing long-term

employment. Resident Manager offered to help Ms. Grant, suggesting she could reach out to

Defendant McMahon in case he could assist, and texted him to see if he would be willing to

speak with Ms. Grant to provide advice about employment.

         53.      50. On the heels of signing a $7.5 million NDA with another woman in February

2019,5 McMahon responded enthusiastically and proposed times to meet with Ms. Grant to

discuss employment. Resident Manager passed along Ms. Grant’s resume to McMahon ahead of


5
 See Order Instituting Cease-And Desist Proceedings Pursuant To Section 21c Of The Securities Exchange Act Of
1934, Making Findings, And Imposing A Cease And-Desist Order, Exchange Act Release No. 102143, SEC Docket
3-22391 (Jan. 10, 2025), https://www.sec.gov/files/litigation/admin/2025/34-102143.pdf (the “SEC Order”).

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the prospective meeting. and shared a screenshot of McMahon’s response to the prospect of

meeting Ms. Grant—in which McMahon indicates that Resident Manager was “giving” Janel to

him:




         54.      51. Ahead of the meeting, Resident Manager advised Ms. Grant to be energetic as

McMahon is “big on energy” and talk to McMahon no differently than she talks to Resident

Manager.

         55.      52. On or about March 23, 2019, Ms. Grant arrived for the meeting in

McMahon’s condo with additional printed copies of her resume, a black notepad, and “thank

you” cookies.

         56.      53. Sitting at his dining table, McMahon looked at Ms. Grant’s resume and

complimented both her communication skills and “common sense,” before discussing little but

their personal lives. For example, Ms. Grant told McMahon about the hardship that led to

Resident Manager’s offer to help and described losing her parents, her family’s bankruptcy, and


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other trauma that led her to seek financial independence to ensure she would never experience

losing her home again.

         57.      54. McMahon shared stories about his upbringing, his traumatic childhood,

growing up in poverty, and current family dynamics, including his separation from Linda

McMahon—described as “his ex” and “long gone.”                           He added his marital status is an

arrangement on paper for business purposes and that he lives a quiet, isolated existence outside

of the WWE.

         58.      55. At the end of the meeting, McMahon told Ms. Grant that he didn’t just want

to give her a job, but “give [her] a life,” and that he would find a place for her at WWE.

         59.      56. Stunned, Ms. Grant said that she didn’t know how to thank him for “possibly

just changing my life.” McMahon responded that one simple “thank you” is enough and that

he’d accept a hug; they stood and embraced.

         60.      In August 2021, McMahon told Ms. Grant that after she left their initial meeting,

he immediately returned to the chair where she had sat and masturbated on the floor.

         61.      Ms. Grant even expressed to Resident Manager that she was unsure of how to

thank a CEO, as her main experience with interviewing in the past had been with Human

Resources representatives:




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         62.      57. McMahon then told Ms. Grant that he’d “get the ball rolling” on next steps

but it was a busy time of year as WWE prepared for WrestleMania, explaining that it was

WWE’s “Superbowl.” He then invited Ms. Grant to attend as his guest along with Resident

Manager, and added that he would personally select their seats to have the best possible

experience.

         63.      58. McMahon advised her that his office would reach out to her to set up a

meeting with a trusted official, WWE Corporate Officer No. 2Brad Blum, at WWE headquarters.

After asking if her cell was the best number to reach her, McMahon shared his personal phone

number with Ms. Grant, walked her to his door, and again hugged her while whispering, “So

good.”

         B.       McMahon Arranges for Ms. Grant to Be Hired by WWE—While Beginning
                  to Groom Her for Sexual Exploitation.

         64.      59. On March 31, 2019, the day before Ms. Grant was scheduled to meet with

WWE Corporate Officer No. 2Brad Blum, McMahon unexpectedly invited Ms. Grant to come

back to his condo for pointers for her meeting with WWE Corporate Officer No. 2Blum. When


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she arrived, McMahon gave a huge embrace and suggested they sit on the couch. It quickly

became clear that McMahon had no intention of giving her pointers for an interview except for a

single direction: if the topic comes up during her meeting, Ms. Grant could state they “met

through a mutual friend.”

         65.      60. During this meeting, McMahon described a surgery he had on his knee by

touching Ms. Grant’s leg and drawing a line where the surgery had taken place with his finger.

He stated that similar to rehabbing an injury, Ms. Grant cannot let scar tissue build up inside her

from trauma as her vulnerability is “a gift.”

         66.      61. McMahon explained that people are intimidated around him and are afraid to

touch him. McMahon added that he is an affectionate person who likes to hug and “starves” for

physical affection. McMahon then led Ms. Grant on a tour of his condo before hugging her

goodbye, again whispering “Feels so good.”

         67.      62. On April 1, 2019, Ms. Grant met with WWE Corporate Officer No. 2Blum at

WWE Headquarters for a short time. WWE Corporate Officer No. 2Blum hardly asked any

questions, saying that WWE Corporate Officer No. 2he was figuring out where Ms. Grant would

be placed and then promised to be in touch again after WrestleMania.

         68.      63. Later that day, Ms. Grant texted McMahon and enthusiastically described her

meeting with WWE Corporate Officer No. 2Blum. She also commented on a dinosaur skull that

she saw on McMahon’s office wall, prompting his response, “btw if Ur a BAD girl the T-rex will

eat U” followed by “Seriously Janel wherever U land in WWE U will be a credit to the

organization.”

         69.      64. On April 7, 2019, Ms. Grant and Resident Manager were provided a “VIP”

experience at WrestleMania, including private transportation in a black SUV arranged by



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McMahon. Per McMahon’s instructions, Ms. Grant diligently took notes about her impressions

from WrestleMania—her first time attending such an event. Ms. Grant left overwhelmed with

emotion and feeling hopeful that everything McMahon promised was becoming a reality.

         70.      65. Over the next several weeks, McMahon invited Ms. Grant to his condo on

several occasions, each time assuring her that he would find the right position for her at WWE.

         71.      66. For each meeting with McMahon, Ms. Grant brought sample job descriptions

she found online to review with him and demonstrate the types of roles she might fit in.

McMahon listened to Ms. Grant, asked her questions, and pointed out qualities that he described

as rare gifts, including her “goodness,” “vivaciousness,” “childlike-innocence,” and ability to be

“vulnerable”—all things that made her an easy target. McMahon also initiated long physical

embraces with Ms. Grant, repeatedly telling her that he trusted her, that he could be himself

around her, and how he’d opened his home to her.

         72.      67. During one visit to the condo in late April 2019, McMahon did not greet Ms.

Grant when she entered, but instead called her to his master walk-in closet. As soon as she

turned the corner, McMahon emerged from his bathroom wearing only briefs. Shocked, Ms.

Grant turned around and apologized, as McMahon laughed and asked her to turn around. He

then handed her a shirt and asked for help with the buttons. McMahon reminded her that he was

working hard on her role and said he felt good about her taking care of him.

         73.      68. Around that time, McMahon also told Ms. Grant that he would never forget

how helpless she looked when they first met, that he wanted to wrap his arms around her, and

assured her “that everything is going to be okay” and that Ms. Grant’s problems were in the past.

McMahon also told Ms. Grant that he viewed her as a true friend.




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         74.      69. However, McMahon advised Ms. Grant that people at WWE could never

know about their closeness or else rumors would spawn and threaten them – —particularly due

to Ms. Grant’s physical beauty.              McMahon also emphasized that the circumstances could

jeopardize the Company. Around this time, he mentioned that he had an attorney on speed dial

whom he described as the best of the best at making problems—including people who become

problems—go away.

         75.      70. On April 21, 2019, McMahon unexpectedly invited Ms. Grant to his condo to

provide her with an update. Upon her arrival, McMahon assured her Ms. Grant that he was a

man of his word and that his office would be in touch with her soon with the right role. As she

turned to leave, McMahon grabbed a large black electric massager and told Ms. Grant to turn

around for a demonstration. He quickly moved to rubbing his hands on Ms. Grant’s upper back

before reminding her that she would hear from his office about next steps in a day or two.

         76.      71. Two days later, Ms. Grant was contacted about further meetings at WWE; a

week later, she met with two high ranking human resources employees (referred to herein as

“Human Resources Employee No. 1” and “Human Resources Employee No. 2,” respectively).

Both Human Resources Employee No. 1 and Human Resources Employee No. 2 provided Ms.

Grant with their impressions about company culture at WWE and confirmed that “the ball [was]

in [their] court” to figure out where she would best fit in at WWE.

         77.      72. On May 5, 2019, Ms. Grant visited McMahon’s condo again and the topic of

“bucket lists” came up, during which Ms. Grant expressed that she always dreamed of attending

the Belmont Stakes. McMahon responded that he would personally acquire two tickets for her,

which Ms. Grant said she could not accept.




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         78.      73. McMahon then stood up from his chair and knelt in front of the chair where

Ms. Grant was seated, blocking her from standing. He leaned close to Ms. Grant and told her to

kiss him. Ms. Grant paused and gave McMahon a kiss on the cheek, to which McMahon sighed,

“That’s not what I meant.”

         79.      74. After McMahon walked off to his bedroom and said that he wanted Ms.

Grant, she swiftly rejected his advances and tried to reason with him that he was putting her in a

bad position. Ms. Grant pled with McMahon to stop and think about what he was doing.

         80.      75. McMahon then begged repeatedly simply to hold Ms. Grant.

         81.      76. Out of fear for her employment and his earlier implied threats about his legal

team dealing with problems, Ms. Grant lay down in bed next to McMahon and kept her hands

clasped and ankles crossed, as she acquiesced in saying that he could only hold her, but nothing

more.

         82.      77. When Ms. Grant tried to make small talk about WWE’s TV storylines,

McMahon suggested she watch the next episode of Monday Night Raw and text him before the

broadcast. After she agreed, he forcibly kissed her and began pulling down a strap on her

sweater. Ms. Grant then sat up, said she needed to leave and had a lot to process, and left.

         83.      78. The next day, Ms. Grant watched the show as promised, and texted McMahon

to wish him well. She was shocked when he appeared on the show and texted back in the middle

of the live broadcast, “That was a very nice message :). Made me smile :):)”.

         84.      On May 3, 2019, Ms. Grant was introduced as “a referral from Brad [Blum] &

Vince [McMahon] . . . for a potential temp. Admin role in the AMG group” in an internal WWE

email. Thereafter, WWE executives were actively engaged in hiring Ms. Grant expeditiously




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and identified her as a person of interest from the onset—an abnormal amount of attention for an

executive to give a low-level employee hired as a temp.

         85.      79. On May 9, 2019, McMahon texted Ms. Grant that she will have a job at WWE

by that Friday.

         86.      80. The next day, Human Resources Employee No. 2 called Ms. Grant to inform

her that the WWE Corporate Officer No. 4,Brian Nurse would contact her at 4:00pm to discuss a

legal role.

         87.      81. After her call with WWE Corporate Officer No. 4Nurse, Ms. Grant sent

McMahon a “thumbs up” text message to indicate the call went well. Around 7:00pm, WWE

Corporate Officer No. 4Nurse unexpectedly called her a second time and formally offered her a

job, saying “Welcome to WWE.”

         88.      82. On May 11, 2019, McMahon invited Ms. Grant to his condo again and asked

her to lay in bed with him before informing her that he had ordered WWE Corporate Officer No.

4Nurse to offer her the job, even though a job description had not been firmed up beyond a

high-level summary.

         89.      83. While incredibly excited to finally receive long-awaited employment and

financial security, Ms. Grant expressed to McMahon that there seemed to be a conflict between

his doing this and his warning to Ms. Grant that no one could know about their closeness. He

appeared amused with this, replying “It’s my company.” McMahon then undressed down to his

briefs, while Ms. Grant remained clothed, and he began kissing Ms. Grant and inserting his

hands into her pants without consent.                   Thus, McMahon began his trafficking of Ms.

Grant—effectively forcing her to exchange sex for commercial value and employment. These

acts would grow more extreme and outrageous over time.



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         90.      84. On May 16, 2019, McMahon informed Ms. Grant that he had obtained two

tickets to the Belmont Stakes scheduled for June 8, 2019.

         91.      85. On May 17, 2019, Ms. Grant received an offer letter from WWE for an entry

level job as “legal administrator-coordinator” with a salary of $75,000.

         92.      86. On May 18, 2019, McMahon summoned Ms. Grant to his condo and she

brought a printed copy of the offer letter to review with him. McMahon informed Ms. Grant that

her new boss, Rich Hering, a WWE employee who worked in risk and government relations

(referred to herein as “WWE Employee No. 1”), was a decades-long family friend and

confidante, similar in age to McMahon and one of a small, original group (what McMahon called

the “titan family”) who helped the WWE expand from a regional promotion to a global

juggernaut.

         93.      87. McMahon stated that outside of his attorney, WWE Employee No. 1Hering

was the most feared figure in the companyCompany because WWE Employee No. 1Hering

usually fired employees.          Beyond that, he offered little detail about WWE Employee No.

1’sHering’s role at WWE. Instead, he focused on WWE Employee No. 1’sHering’s personal

traumas, explaining that similar to Ms. Grant, WWE Employee No. 1 hasHering had no family

left after WWE Employee No. 1'shis spouse passed away and that the McMahons and WWE

were WWE Employee No. 1’sHering’s surrogate family. McMahon touted WWE Employee No.

1’sHering’s loyalty, saying that WWE Employee No. 1Hering would be able protect Ms. Grant,

and then led her to his bedroom while giving her the command of, “Please don’t stop this.”

         94.      88. During the May 18, 2019, encounter, Ms. Grant felt coerced into engaging in

sexual activity and that McMahon had trapped her an impossible situation, as she feared adverse

career and personal consequences and legal retaliation if she declined his advances. McMahon



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stated, “This is what I have been waiting for” as he performed oral sex on Ms. Grant. Ms. Grant

asked that protection be used, and McMahon responded that there was no need to worry because

he was “clean.”

         95.      89. Feeling that she was being used for his gratification, Ms. Grant went numb

and was unable to make eye contact. McMahon then flipped on his back and said, “Okay, jack

’‘em off.”

         96.      90. Disturbed by the nonconsensual sexual encounter, she hoped that McMahon

would cease his advances. But his advances continued and left her to fulfill his demands or lose

her job.

         97.      91. On June 16, 2019, the day before starting with WWE, Ms. Grant attempted to

shut down any further physical contact or sexual encounters by admitting to McMahon her

unhappiness and concern starting her first-ever job – —in his legalLegal department no less –

—while in a physical relationship with the Chairman and CEO. She requested that they end any

physical relationship while remaining friends to avoid any risks to either of them.

         98.      92. McMahon refused, saying that it was not ending, it did not need to, and that he

did not “ever envision” it ending. He reminded her that he trusted her, reiterated that rumors

would lead to trouble, probed whether her silence would be an issue, and brushed off her

concerns that she was struggling with the feeling that her job felt unearned. McMahon told Ms.

Grant that all she needed to do was not tell anyone and that, “it just has to look legit.”

         99.      93. McMahon then spun the conversation and told Ms. Grant to focus on the

positives and embrace that her life was about to change, saying “Isn’t that what you’ve always

wanted?” McMahon manipulatively emphasized that she’s about to start an adventure and gain a

new family with the WWE, as a surrogate for the family that she had lost.



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         100.     94. Ultimately, Ms. Grant’s unsuccessful attempt to end further unwanted

physical contact quickly taught her that her view on the matter was not relevant.

         C.       Ms. Grant’s WWE Career Commences: Minimal Work and an Absent Boss.

         101.     95. On June 17, 2019, Ms. Grant reported to WWE headquarters for her first day

of work. With attorneys in glass offices and support staff in cubicles with low walls and tall

monitors it was easy to see how much other colleagues worked; as a quiet and small department,

it was even easier to overhear their conversations.

         102.     96. Ms. Grant was immediately surprised that there was not much work assigned

to her, struggling even to appear busy in her new role. In stark contrast to colleagues who

complained about overflowing inboxes, Ms. Grant’s phone only overflowed with controlling and

sexually charged text messages from the Chairman and CEO, reminding her both of McMahon’s

power and ever-present surveillance. In reality, the job Ms. Grant was hired for was her sexual

acts, even though she did not realize it yet.

         103.     97. Colleagues shared onboarding stories with Ms. Grant and talked about

receiving pre-made binders of information or the opportunity to shadow departing employees –

—none of which happened for Ms. Grant. Nor did anyone know what her unusual title of

“administrator-coordinator” meant.

         104.     98. Ms. Grant did not even meet WWE Employee No. 1Rich Hering until her

second week of employment. WWE Employee No. 1Hering was a lively individual who

frequently regaled the legalLegal department with stories of others at WWE. If McMahon’s

name was mentioned, WWE Employee No. 1Hering would turn to Ms. Grant with a smile, a

finger point, and/or a comment that drew attention to her connection to McMahon – —such as,

“She knows what I’m talking about.”



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         105.     99. WWE Employee No. 1Hering and Ms. Grant bonded as quickly as McMahon

had predicted. Ms. Grant, referred to by Hering as “partner,” was taught words to live by in

WWE, including “We do what’s in the best interests of the companyCompany,” “Protect the

business,” and, if McMahon wants something, “The answer isn’t ‘no’ but rather how do we

make it happen.” WWE Employee No. 1Hering also impressed on Ms. Grant that job titles

“don’t mean anything” for members of McMahon’s inner circle, which she was clearly

considered to be a part of.

         106.     100. As WWE Employee No. 1Hering was seldom in the office and required little

administrative support, Ms. Grant reported indirectly to another WWE employee within the

legalLegal department (referred to herein as “WWE Employee No. 2”), who provided her with

occasional projects related to Talent appearances and XFL that helped fill Ms. Grant’s time.

         107.     101. Based on her hiring alone, WWE Corporate Officer No. 4Brian Nurse was

on notice that there was something different about Ms. Grant; namely, her connection to

McMahon. As Ms. Grant feared (and had expressed to McMahon), she was unhappy that a

spotlight was unnecessarily put on her before she ever set foot in the office. Ms. Grant

immediately noticed that WWE Corporate Officer No. 4Nurse was warm with other colleagues

but cold towards her.

         108.     102. Beginning in July 2019, after Ms. Grant raised an issue related to XFL’s

Performance Enhancing Drug Policy with McMahon, WWE Corporate Officer No. 4’sNurse’s

behavior shifted from cold to actively hostile. If Ms. Grant walked into a room while WWE

Corporate Officer No. 4Nurse was laughing with colleagues, WWE Corporate Officer No.

4'sNurse’s expression immediately became blank and WWE Corporate Officer No. 4he would




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walk away. If WWE Corporate Officer No. 4Nurse and Ms. Grant walked towards each other in

a hallway, WWE Corporate Officer No. 4Nurse stopped and changed directions.

         109.     103. Colleagues noticed this shift in behavior; while some commented on it to

Ms. Grant, others emulated it.

         110.     104. Notwithstanding the issues detailed above, Ms. Grant took her employment

seriously. In contrast, McMahon continued a pattern of sending sexually charged messages

throughout the work week. Certain her employment depended on her continued appeasement of

and obedience to McMahon—and believing she needed McMahon’s protection from the

suspicious WWE Corporate Officer No. 4suspicions of Nurse and others—Ms. Grant felt no

choice but to respond in kind.

         111.     105. From all this, Ms. Grant began to experience debilitating panic attacks in the

office on a near-daily basis that left her physically drained. She could not hide the physical

symptoms of these attacks and texted Resident Manager, “u should see the way people look at

me when I’m having an attack.” But while her co-workers noticed, no one dare get involved.

         112.      As she continued to be abused by McMahon and eventually others at WWE, Ms.

Grant did not feel free to simply quit her job and walk away. Immersion in the Legal department

demonstrated to Ms. Grant the highly reactive, even retaliatory, nature of WWE such that she felt

increasingly trapped.

         D.       McMahon’s Coercive Control Tactics to Sexualize and Dehumanize Ms.
                  Grant.

         113.     106. In the summer of 2019, McMahon’s presence was all-consuming in Ms.

Grant’s life. In the office, she felt monitored as she was surrounded by allies of McMahon,

which led to continued daily panic attacks. Outside the office, McMahon sexualized her entirely.

He no longer referred to her as a friend, and largely stopped talking to Ms. Grant outside of


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sexting and fantasy talk. Any non-sexual texts related to life and/or work were either ignored or

given token responses like “ok” or “yup.”

         114.     107. As detailed herein, McMahon was adamant about having Ms. Grant send

him explicit photographs, impressing upon her that it was part of her sexuality. Given the

control that McMahon had over Ms. Grant’s employment, she felt compelled to comply and sent

the explicit photographs to McMahon’s mobile device. Ms. Grant was routinely assured that the

photographs she was providing to McMahon were to remain private and were part of their

“secret world.”




         115.     108. McMahon began to degrade Ms. Grant, calling her “his bitch,” while hinting

at a fascination with having other people watch them engage in sexual activity.

         116.     109. Additionally, this Complaint details encounters during which McMahon

caused Ms. Grant to sustain physical injuries, including bleeding and pain, from forceful use of



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sex toys. Despite Ms. Grant’s plea to cease any further sexual activity, the number of sexual

encounters increased, as did McMahon’s physical aggression during them.

         117.     110. Notably, McMahon was most aggressive when using the certain sex toys

named after male WWE wrestlers and performers. McMahon named the sex toys so that the

color of the toy matched the race of the wrestler—for example, a black “dildo” would be named

after an African American wrestler and a white “dildo” would be named after a Caucasian

wrestler. In addition to McMahon’s infatuation with pretending that other men (and, namely,

certain WWE talent) were in the room with them, this was yet another incremental step in

desensitizing Ms. Grant to his fantasy, and eventual demands that she perform sexual acts for

and/or have sexual contact with others within WWE.

         118.     111. During a David-versus-Goliath-type wrestling match in 2019, Ms. Grant

shared with McMahon her thoughts on the event, the draw of rooting for the underdog, and ideas

for future events. McMahon complimented her creative input. She believed she was being taken

seriously—that is, until McMahon named a dildo after the smaller wrestler and attempted to

sexualize the situation, diminishing her input.

         119.     112. By fall of 2019, McMahon frequently pressed for pornographic videos and

more explicit content. When Ms. Grant expressed apprehension with his requests, McMahon

responded with assurances that she could trust him—or questioned why she didn’t trust him.

         120.     113. McMahon also took care to remind Ms. Grant of his power and influence,

such as by flaunting a meeting with the Saudi Crown Prince in October 2019. McMahon

repeatedly reminded Ms. Grant of his original promise of giving her “a job and a life” and that he

would solve all of her problems. McMahon was well aware of how vulnerable Ms. Grant

continued to be. She told him, for example: “Ive lived in flight or flight mode - mainly fight - for



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so many years. But since everyone is dead, yesterday I went into shock. I called Rich and took

the day to compose myself, find old papers and prepare myself. When I last dealt with this issue,

my dad just died in my arms and I walked away from his body by myself. Nobody else in the

room. I could handle anything cuz I was in shock but I lived my worst day. This has brought

back some PTSD like grief....”

         E.       McMahon Tightens His Grip on Ms. Grant and Discredits Her Doctor,
                  Replacing Him with One of McMahon’s Choosing.

         121.     114. In addition to her panic attacks, Ms. Grant began experiencing increasingly

severe physical, mental and emotional symptoms, including sleep disruption, dizziness,

exhaustion, rashes, weight loss, hair loss and migraines.

         122.     115. In November 2019, Ms. Grant informed McMahon that her doctor suggested

that her symptoms stemmed from trauma and ongoing stress.                         McMahon mocked her:

“emotional trauma my ass!!”

         123.     116. However, on November 20, 2019, McMahon insisted that Ms. Grant see a

physician of his choosing. This physician is referred to herein as “Celebrity Doctor”was Dr.

Carlon M. Colker and the facility that Celebrity Doctorhe operated from is referred to herein as

“Alternative Clinic.”was Peak Wellness, Inc. (“Peak Wellness”).

         124.     117. McMahon and Celebrity DoctorColker assured Grant that her bills at

Alternative ClinicPeak Wellness would be taken care of under McMahon’s account, and indeed

they were. After the initial visit, it became apparent to Ms. Grant that McMahon and Celebrity

DoctorColker wanted Ms. Grant to remain in the care of Celebrity Doctor’sColker’s practice and

Ms. Grant felt pressured to do so. Celebrity DoctorColker made comments about how Celebrity

DoctorColker/they (“they” referring to McMahon and Alternative ClinicPeak Wellness) had

“saved her life” and Celebrity DoctorColker often remarked how Ms. Grant was unable to even


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make eye contact with Celebrity Doctorhim during their initial sessions—an obvious sign of

trauma.

         125.     118. Ms. Grant acknowledged having a relationship with McMahon during visits

with Celebrity DoctorColker, who gave little reaction, save telling her there were “many

different paths to God and love.”

         126.     119. Celebrity DoctorColker lavished attention, treatments and products on Ms.

Grant, all of which were paid for under McMahon’s account. Ms. Grant was never provided

with any receipts. When Ms. Grant inquired about certain treatments provided, Celebrity

DoctorColker challenged her on whether she trusted Celebrity Doctorhim and postured that if

she didn’t trust Celebrity Doctorhim, then “we should part ways right now.”

         127.     120. At the outset of her care with Celebrity DoctorColker, each session lasted up

to one hour. Ms. Grant would leave feeling exhausted from Celebrity Doctor’sColker’s deep

dives into her personal and work life as “a coach” focused on behavioral science.

         128.     On July 1, 2024, after Colker stonewalled Ms. Grant’s repeated requests for her

own medical records, Ms. Grant brought a Connecticut state court action seeking pre-suit

discovery against Colker and Peak Wellness to gain access to those records and related

documentation. See Janel Grant v. Carlon M. Colker, et al., Connecticut Superior Court, Docket

No. FST-CV24-6068091-S, at D.E. 100.31 (the “Colker Action”).

         129.     Should discovery in the Colker Action produce further information implicating

Colker or Peak Wellness, as expected based on conversations with their counsel, Ms. Grant

reserves the right to include them as defendants to the present action.




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         F.       In 2020, McMahon Voices Concern about Rumors, Then Publicly Exploits
                  Her, and Ms. Grant’s Desperate Attempt to Leave WWE.

         130.     121. On January 30, 2020, WWE issued a press release announcing that the

company’sCompany’s co-presidents, George Barrios and Michelle Wilson, were departing the

companyCompany and would no longer serve on its Board of Directors; a significant drop in

WWE’s stock price followed.

         131.     122. The companyCompany announced that Frank Riddick III, a member of

Board of Directors for more than 11 years, would be interim Chief Financial Officer and report

directly to McMahon.

         132.     123. On February 3, 2020, McMahon sent a message to Ms. Grant advising he

had been informed by WWE Corporate Officer No. 2Brad Blum that there were a lot of rumors

circulating about McMahon and Ms. Grant. :




         133.     124. McMahon warned Ms. Grant that rumors “were not good for either of them.”

Learning that there were rumors circulating about her in the middle of the workday, Ms. Grant

was shocked and mortified. Her sense of powerlessness over the situation caused her to become




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physically ill and experience a panic attack at her desk. Ms. Grant responded to McMahon’s

threat by stating “I’m so shut down right now”.

         134.     Then, on February 10, 2020, without any advance warning, Ms. Grant was

temporarily relocated to the XFL workforce.

         135.     125. Ms. Grant, having been desperate to escape the feeling of being trapped in

her existence at WWE, applied to remain with the XFL on March 6, 2020. She openly vocalized

her desire to remain with XFL to colleagues, even referring to her state of work at WWE as

“nothingness,” and she sought permission to make the change official from WWE Employee No.

1 and Corporate Officer No. 4Rich Hering and Brian Nurse before informing McMahon. Days

after this—during which time she had finally told McMahon about her application to remain

with the XFL—her request was denied.

         136.     126. In the weeks that followed, despite McMahon’s warning about rumors and

direction to Ms. Grant to “play dumb,” he began showing explicit photos of Ms. Grant to people

both inside and outside the company.Company. While openly and recklessly sharing her explicit

content with others, he simultaneously sought to conceal his inappropriate behavior, including by

addressing WWE emails to Ms. Grant as                                                           “Thomas Grant”:




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         137.     127. On March 26, 2020, McMahon sent a lengthy message to Ms. Grant

describing in detail the circumstances surrounding sharing explicit photographs of Ms. Grant to a

former WWE referee (referred to herein as “WWE Referee”). McMahon described how WWE

Referee left to masturbate and told Ms. Grant she had made a perfect stranger very happy.

         138.     128. Ms. Grant initially dismissed this as mere fantasy talk, believing that

McMahon would not actually do such a reckless thing. But when she voiced apprehension about

McMahon sharing naked photos of her with someone she did not know, McMahon’s response

was not to comfort her, but to assure of WWE Referee’s loyalty to him. This sharing of explicit

photos terrified Ms. Grant as it illustrated McMahon’s sheer lack of self-control, and it further

panicked her that these private and intimate photos, which included her face, were being shared

with complete strangers.

         139.     129. On March 30, 2020, McMahon enthusiastically messaged Ms. Grant that

WWE Referee had showed a friend a naked photo of Ms. Grant – —which marked the beginning

of McMahon sharing Ms. Grant’s naked pictures with others (who he encouraged to share with



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their friends). McMahon relayed that an unidentified third party demanded that WWE Referee

“let me fuck U LMAO as if [he] could arrange it which he obviously can’t” as McMahon

ultimately held this power:




         140.     130. On March 31, 2020, Ms. Grant expressed concern to McMahon that she had

no intention of having sex with these strangers and requested McMahon make that message

clear, as she felt threatened and distressed by the responses her pictures were getting. She made

clear that she did not want any perception of her moving beyond the point of mere fantasy.

         141.     131. Shortly after, McMahon surprised Ms. Grant with news that he had protected

her job from a furlough that WWE would imminently announce. The furlough affected a large

number of employees and McMahon emphasized that he personally made sure that she would

not be one of them – —reinforcing her dependency on him, particularly after a majority of the

support staff in the legalLegal department (all hired prior to Ms. Grant) were furloughed.

         142.     132. McMahon became the most important figure in Ms. Grant’s life as he

meticulously asserted power and control over almost every aspect of it. Ms. Grant’s fears

intensified over the consequences that could result from McMahon’s actions, particularly by

sharing her naked pictures. She became paranoid, completely dependent on and worshipfully


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devoted to McMahon. He, in turn, pressed forward in exerting his power over Ms. Grant as he

saw fit.

           G.     McMahon Recruits Other Men and Forces Ms. Grant Into Sex Trafficking.

           143.   133. In May 2020, McMahon had recruited an individual whom he manipulatively

referred to as his “friend” to engage in a “threesome” with McMahon and Ms. Grant. The

“friend” turned out to be McMahon’s physical therapist at Alternative ClinicPeak Wellness and

is referred to herein as “Physical Therapist.”

           144.   134. To induce Ms. Grant’s participation in the threesome, McMahon began

referring to Ms. Grant as his “girlfriend” and sent her a large bouquet of flowers. Nevertheless,

on May 8, 2020, Ms. Grant expressed apprehension about participating in the threesome. In

response, McMahon insisted that the plans were already made and suggested he would lose a

friendship if she did not go through with it.

           145.   135. On the day of the threesome on May 9, 2020, Ms. Grant showed up to the

condo but reiterated that she did not want to go through with the act. She expressed fear of being

thrown around like a “rag doll” by McMahon and Physical Therapist. After Ms. Grant clearly

stated she wanted to back out, McMahon responded by telling Ms. Grant for the first time that he

loved her, stunning her into silence.

           146.   136. McMahon’s manipulative tactic resulted in the outcome he wanted, and he

led her down the stairs to the bedroom where Physical Therapist was already waiting to begin the

threesome.

           147.   137. Early in the encounter, McMahon immediately directed Ms. Grant to lay

down on her back in a supplicating position. While straddling over her, McMahon defecated on

Ms. Grant’s head. McMahon left to shower off, but he instructed Ms. Grant to remain in place,



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with excrement in her hair, and to continue performing for his friend. While Ms. Grant

requested protection, none was offered. McMahon and Physical Therapist actively continued

with the threesome and directed Ms. Grant’s sexual performance for around an hour and a half

while she was left covered in feces.

         148.     Shortly thereafter, Ms. Grant confided in Resident Manager about the humiliating

event:




         149.     138. Following the threesome, on May 11, 2020, McMahon sent an explicit

message to Ms. Grant that further detailed his fantasies of seeing her engaged in sexual relations:




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         150.     McMahon enthusiastically shared Ms. Grant’s explicit content and shared back

some of his communications with other men about what they wanted to do to her, such as

Physical Therapist:




         151.     139. McMahon then pressured Ms. Grant into several additional threesomes, in

large part because she felt she had no other choice – —particularly after McMahon’s comments

that he had personally ensured that she had not lost her job.

         152.     140. Her subsequent run-ins with Physical Therapist at Alternative ClinicPeak

Wellness also served as a reminder of how much was at stake if she did not obey; McMahon

controlled Ms. Grant’s employment, income, paid for her medical care, circulated naked pictures

of her, and ignored her lack of consent for the first threesome.

         153.     141. Indeed, when text conversations would begin to cross over from McMahon’s

fantasies into reality, Ms. Grant often attempted to avoid physical encounters with Physical




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Therapist—as on September 23, 2020, when she told McMahon there was “no room for a 3rd

body.”

         154.     142. After the threesomes began, McMahon became more sadistic and his

fantasies focused on control, such as choking, sensory deprivation, pain, humiliation, and group

scenarios in which Ms. Grant was to be physically overwhelmed and subservient:




         155.     143. On one occasion, he instructed Ms. Grant: “Do NOT knock on the door

cause if I see U ::: I will rape U in the hallway.”

         156.     144. To leave no doubt regarding the dynamic of their relationship: on May 12,

2020, McMahon texted Ms. Grant, “i’m the only one who owns U and controls who I want to

fuck U,” a theme that was often reiterated throughout their involvement.

         157.     145. On June 17, 2020, Ms. Grant sent texts to McMahon noting her one-year

anniversary in joining WWE; McMahon ignored her.




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         158.     146. A month later, McMahon reminded Ms. Grant about the far-reaching results

of his texting out explicit content of her: “By now thousands of men see U everyday all over the

world. They all want to fuck you.”

         159.     147. Around this time, McMahon openly shared explicit photographs and

salacious stories about Ms. Grant with WWE crew at TV tapings, a group McMahon also

referred to as her “fan club.” Indeed, McMahon exuberantly messaged her a “truthful story” of

having just shared explicit content of her with a group of twelve men on the WWE tech crew and

recounted the obscene details he shared with them:




         160.     In or about September 2020, McMahon instructed Ms. Grant to create customized

pornographic content for producer Michael Hayes and his crew:




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         161.     Among other things, McMahon instructed Ms. Grant to “show off” for

construction workers, again reinforcing her role as his commodity. McMahon pushed Ms. Grant

to create explicit content for construction workers, although she eventually was able to avoid an

in person encounter with the men due to concerns about exposure during the pandemic.

         162.     In October 2020, McMahon detailed how he had shown Ms. Grant’s sexually

explicit content to at least 20 members in the WWE crew:




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         163.     148. On the occasions when Ms. Grant informed McMahon that she was

physically injured during their sexual encounter, McMahon’s responses varied from apologies to

non-accountable pushback and blaming impulse control. When encounters were particularly

brutal, Ms. Grant learned to bookend the truth of her injuries with compliments to create the least

amount of pushback from McMahon. However, Ms. Grant sustained brutal and painful injuries,

including bleeding, swelling, bruising, and spans of incontinence resulting from McMahon’s

forceful use of his fists, adult toys, and objects unsafe for vaginal insertion or penetration.

         164.     149. For instance, on August 28, 2020, Ms. Grant texted McMahon that she was

injured during their latest sexual encounter, as a result of McMahon’s insistence on penetrating

Ms. Grant with “extra-large” sex toys, including a vibrating wand that caused her to panic.

McMahon ignored Ms. Grant’s warning that the device was not meant for insertion and

forcefully shoved the wand inside of her so deeply that it became stuck for a period. She texted

she was in pain and “bleeding a lot between last night and today” and “I’m on the floor right now

bcuz I can’t get comfortable” and on August 29, 2020, she texted him an update that she was

“still really uncomfortable” and “I got hurt in some way that I’m having trouble describing.”

McMahon did apologize, saying that “Sometimes I just get carried away.”




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         H.       McMahon Recruits Laurinaitis Into his Exploitation of Ms. Grant and
                  Transfers Her Into Laurinaitis’sLaurinaitis’ Department at WWE;
                  Trafficking and Sex Acts at WWE Headquarters.

         165.     150. During this time, Ms. Grant became so sick from the stress of the situations

that McMahon had subjected her to that her weight plummeted to just over 100lbs – —which

McMahon ignored.

         166.     151. One distressing event occurred on November 21, 2020, when. Immediately

after the termination of the General Counsel Brian Nurse, McMahon flew in from Florida during

the weekend of the WWE Survivor Series, back to Connecticut, where he would engage in a

sexual encounter with Ms. Grant.                 Upon arrival, McMahon drove Ms. Grant to WWE

Headquarters to fulfill his fantasy of having a sexual encounter with her in his office, causing

Ms. Grant to suffer a panic attack in the passenger seat while pleading with McMahon to change

his mind and drive her back home. McMahon scoffed and then gave her an ultimatum: either

have a sexual encounter in his office or inside the parked car. Terrified, Ms. Grant obeyed

McMahon’s directions and they entered WWE headquarters for the encounter.

         167.     McMahon then flew back to Florida. In the days that followed, McMahon sent

Ms. Grant photos of his office at WWE Headquarters to remind her of the encounter, and also

left her a voicemail to tell her that the encounter was “the greatest thing that probably ever

happened in this building”:




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         168.     152. Further, despite Ms. Grant’s repeated statements that she did not consent to

threesomes with McMahon and Physical Therapist, McMahon advertised her to others and told

her that he had found another person to join them: Defendant John Laurinaitis.

         169.     153. In November 2020, McMahon pressed Ms. Grant to make explicit photos

and videos to send to Laurinaitis. McMahon orchestrated exchanges by instructing Ms. Grant

when to create explicit content for Laurinaitis, including what to say, and provided her with

notes to adjust her performance.

         170.     McMahon then facilitated the exchange of explicit content back and forth

between Ms. Grant and Laurinaitis. , and exchanged explicit content with Laurinaitis himself.

For example, without her knowledge or consent, McMahon video called Laurinaitis and recorded




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Ms. Grant for Laurinaitis while she was nude. Laurinaitis also sent a sexually explicit video

from Arizona to McMahon to be shared with Ms. Grant.

         171.     Notably, even once phone numbers were exchanged between Ms. Grant and

Laurinaitis, McMahon insisted that he be privy to any messages that Ms. Grant sent to

Laurinaitis, and demanded that she report back about all interactions, further illustrating the level

of control he held over Ms. Grant.

         172.     154. On or about December 29, 2020, a threesome was arranged between

McMahon, Laurinaitis, and Ms. Grant at McMahon’s condo – —McMahon instructed her to tell

Laurinaitis that she was a neighbor and girlfriend working in the legal field (but not at WWE).

         173.     Ahead of the initial encounter with Laurinaitis, McMahon invited Ms. Grant to

start sleeping over at his condo—an ostensibly humanizing gesture that was calculated to lull

Ms. Grant into continuing to be exploited.

         174.     155. Shortly after meeting Laurinaitis, Ms. Grant asked him if she was the first

woman whom McMahon had introduced him to in such a setting. Laurinaitis failed to respond

and shot a look directly at McMahon, who quickly intervened by kissing Ms. Grant and initiating

the sexual encounter amongst the three of them. Once again, Ms. Grant asked for protection;

once again, her request was denied after an assurance that Laurinaitis was “clean.”

         175.     After the encounter ended, Laurinaitis looked Ms. Grant in the eye and threatened

her that she should never forget he could read people just like McMahon and “would take a

bullet for” McMahon.

         176.     156. In the days that followed, McMahon texted her that Laurinaitis “hugged me

like a bear and said thank you to me about 12 times already.” In contrast, Laurinaitis messaged

Ms. Grant, “Thanks for the fun afternoon.”



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         177.     In the weeks that followed, McMahon became insistent on Ms. Grant’s

compliance with his directive that she send Laurinaitis explicit content, texting her repeatedly to

ensure that she adhered to his demands:




         178.     157. On or around January 25, 2021, Ms. Grant was reassigned to directly support

WWE’s new hire, a high-ranking employee in the legalLegal department. Prior to that date, after

months of turnover in the Legal department, Ms. Grant was listed as reporting directly to Brad

Blum, who would purportedly oversee Ms. Grant’s performance evaluation.

         179.     158. On February 5, 2021, McMahon sent Ms. Grant a message to establish a

schedule for when other men (including Physical Therapist and Laurinaitis) could have sex with

Ms. Grant, which Ms. Grant attempted to rebuff:




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         180.     159. Texts like this – —a shift schedule – —caused Ms. Grant to suffer

breakdowns over how her original hope for a new life had been reduced to an objectified and

dehumanized existence, with no way out.

         181.     160. On or about March 6, 2021, a second threesome between McMahon,

Laurinaitis and Ms. Grant occurred.

         182.     161. In March 2021, WWE had still not hired a replacement after WWE

Corporate Officer No. 4’sBrian Nurse’s termination in November 2020. On March 9, 2021,

McMahon informed Ms. Grant, still an entry-level coordinator, that top executives in the

Company knew about their relationship and that her presence in the legalLegal department was

effectively delaying the Company’s efforts to hire a new replacement for this high ranking

official, reinforcing the fact that many within the Company were well aware of the circumstances

detailed herein.




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         183.     Specifically, McMahon stated that he had informed Nick Khan and Brad Blum

that her presence in the Company posed a liability of such enormity that “unfortunately, [Ms.

Grant appears] to have my company over a barrel.” McMahon’s concerns included inquiries

from the Board of Directors about the delay in hiring a new General Counsel and the serious

harm that the Company, his family and Ms. Grant would suffer in particular if their relationship

or any of the corporate decisions related to it became public headlines.

         184.     162. As a result, McMahon stated the plan was for her to change departments and

he verbally directed Ms. Grant to transfer to the Talent Relations Departmentdepartment,

reporting to Laurinaitis., while Laurinaitis was promoted into a role reporting to Brad Blum. Ms.

Grant was given no other options. She understood that a plan was being dictated to her that did

not involve a choice.

         185.     163. McMahon forbade Ms. Grant from communicating with certain colleagues,

such as Rich Hering in the Legal department, to maintain his control over the situation. On

March 10, 2021, Ms. Grant sent McMahon a distressed text message recapping theirthe

threatening conversation and expressing shock and a range of concerns, including about

Laurinaitis.     Essentially, Ms. Grant expressed a desire to be treated humanely and taken

seriously, which she acknowledged could be an “uphill battle.” Humiliated and scared, Ms.

Grant believed she owed total obedience to McMahon, Khan, Blum and Laurinaitis and echoed

back McMahon’s assurances that she was loyal to the Company and would sooner jump off a

balcony than hurt them:




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Ms. Grant expressed shock about the situation: “Maybe I’m also in a little bit of shock bcuz I

never expected this to get this far and that the search for a GC would be essentially affected by

me…”

         186.     164. Unfortunately, Ms. Grant’s transfer to the Talent Relations department came

with the expectation, from both McMahon and Laurinaitis, that she engage with Laurinaitis

sexually, both physically and with explicit content.

         187.     165. On March 10, 2021, WWE Corporate Officer No. 2the decisions that

McMahon recounted began to take immediate effect. Brad Blum informed Grant that day that

she would officially be moved to Talent Relations and would quickly begin reporting to

Laurinaitis, although details about her role, including a title and salary, were still being firmed



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up. In essence, Ms. Grant again found herself in a completely undefined role, except for the

understanding that she remain a sexual slave to be used and trafficked by McMahon within the

WWE. A month later, having still not received a title and the corresponding pay raise promised

and uneasy with the uncertainty, Ms. Grant even called Human Resources to confirm that there

was nothing further she needed to do in order to transition into her new role. They assured her

that this was a natural progression.

         188.     166. On March 12, 2021, McMahon reminded her of the connection between her

job and her role as a sexual object: “Let’s work hard and PLAY hard too !!!”

         189.     Ms. Grant expressed her apprehension about the arrangement with Laurinaitis to

McMahon and explicitly told him that she did not want to be alone in a room with another man.

McMahon acknowledged Ms. Grant’s concerns, and subsequently preyed on those same

apprehensions by directing her to engage in those acts. Fear, intimidation, humiliation, isolation,

and the sudden emergence of Laurinaitis, Khan and Blum in her daily life made Ms. Grant

believe that if she was not obedient to them, something bad would happen to her. She became

controlled to the point that she was worn down, numb and docile.

         190.     167. On March 16, 2021, McMahon and Laurinaitis directed Ms. Grant was

directed to pick up a key to Laurinaitis’ hotel room and serve herself to him as “breakfast” before

the start of work.

         191.     168. McMahon constantly reinforced the expectation that Ms. Grant sexually

perform for him and her new boss Laurinaitis, both in and out of the office. McMahon wrote on

March 22, 2021, “Do U promise to make me proud Baby? Will U show him what a Porno Star U

can B. Will U Show Off for me like never before ????” and “On days when he’s in town, I want

him to fuck U every morning and later In the office too.”



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         192.     169. Instead, the very next day McMahon also indicated on April 2, 2021 that Ms.

Grant should obey if Laurinaitis wanted to bring in yet more men:




         193.     170. In April 2021, WWE’s Senior Vice President of Human Resources was fired.

         194.     In the days that followed, McMahon made clear to Ms. Grant that their

arrangement with Laurinaitis was in full force whenever Laurinaitis was in town, conditioning

her job stability on her obedience with the plan:




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         195.     171. The same month, McMahon informed Ms. Grant that that she would be

given the title of Vice President, Operations, within the Talent Relations department. However,

days later, McMahon backtracked and said she would be a director of operations instead, to

avoid suspicion of a sudden promotion to vice presidentVice President.

         196.     172. During this conversation, McMahon told Ms. Grant that he had expressed to

other WWE management that he wanted her to reach the level of Vice President and spend a

year or two in the position, as she would be able to “take the experience anywhere.” He

informed her that this plan was agreed to amongst the WWE executives.

         197.     173. Ms. Grant left this conversation with McMahon hoping that she could escape

this situation with her finances and reputation intact. She just needed to survive until that point.

         198.     174. In an April 2021 meeting between Ms. Grant and WWE Corporate Officer

No. 2, WWE Corporate Officer No. 2Brad Blum, Blum acknowledged that the jump initially



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proposed to Vice President was too big and could put a target on Ms. Grant’s back.

Nevertheless, WWE Corporate Officer No. 2Blum presented Ms. Grant with paperwork detailing

a base salary increase to $200,000 as Director of Operations.

         199.     175. As soon as Ms. Grant began working directly for Laurinaitis, forcible

touching and overtly sexual behaviors became part of daily life when he was in the office. On

numerous occasions, Ms. Grant was directed to visit Laurinaitis at his hotel room before work to

serve herself to him as his “breakfast.” McMahon supervised these encounters, on one occasion

even viewing explicit photos from Laurinaitis while on the corporate jet with the expectation that

Ms. Grant would perform accordingly the next morning:




         200.     At 3:13 in the morning, Laurinaitis instructed Ms. Grant what to do in a

transactional text message:




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         201.     Two days later, Ms. Grant received a text from Laurinaitis stating that he was

laying naked, expecting her arrival.

         202.     These devastating experiences made Ms. Grant feel as though she were being

pimped out as an object for sexual gratification for her new boss. Upon information and belief,

corporate funds from the WWE were used to finance Laurinaitis’sLaurinaitis’ hotel stays when

these coerced sexual encounters occurred.

         203.     176. Per McMahon’s instructions, Ms. Grant reported interactions with

Laurinaitis back to McMahon, for whom the stories served as a source of arousal.

         204.     177. The arrangement with Laurinaitis left Ms. Grant miserable and enraged.

However, in her years of experience with McMahon, she knew her requests to stop would be

ignored at best or used to destroy her career and reputation at worst. Ms. Grant was further left

feeling isolated by colleagues and surveilled by the top-level employees within WWE.

         205.     178. Professionally and personally, Ms. Grant’s fate was entirely in the hands of

McMahon, Laurinaitis, and the other WWE executives who enabled her abuse.

         206.     Upon her move to Talent Relations, WWE constructed a new custom corner

office suite to Laurinaitis’ taste, sharing a wall with the Executive Vice President of Global




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Talent Strategy and Development, Paul Levesque (known as “Triple H”). Ms. Grant’s office had

an internal door that connected directly into Laurinaitis’ office.6




         207.     Nick Khan and Brad Blum were involved in the planning of Laurinaitis’ custom

suite—where Ms. Grant would ultimately be exploited.

         208.     179. On May 24, 2021, McMahon messaged Ms. Grant to remind her that a

mistake could destroy her career and that she should pursue verbal communication rather than

written where possible:




6
  The left image reflects the WWE office floorplan before renovations, and the image on the right displays the
floorplan after construction. Ms. Grant occupied the bottom left office, with Laurinaitis’ office to her right, and
Triple H’s office to the right of Laurinaitis (highlighted in green).

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         209.     180. Panic that someone else’s mistake could cost Ms. Grant her livelihood left

her feeling helpless and afraid of what would happen if McMahon’s mood shifted, leading her to

message him expressions of loyalty, love, and submission as a coping mechanism and with the

hope that he would protect her.

         210.     181. On June 14, 2021, Ms. Grant again told McMahon that she did not want to

engage in sexual encounters with Laurinaitis, adding “I’ve left that hotel feeling bad about

myself every time.” McMahon responded that the one-on-one encounters could cease, but that

he expected threesomes with Laurinaitis to continue.

         I.       McMahon and Laurinaitis Confined Ms. Grant in an Office for an Abusive
                  Sexual Assault at WWE Headquarters.

         211.     182. The following morning, on June 15, 2021, at approximately 7:51am, Ms.

Grant messaged McMahon that, due to her work on an important project, she did not want a



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threesome that week as a “3some won’t set me up for success. It’ll knock me out.” To avoid

pushback from McMahon, Ms. Grant offered the following week instead.

         212.     183. McMahon and Laurinaitis ignored her plea and brought her into Laurinaitis’

office, forcibly touching and undressing her before forcing her to engage in a threesome on a

conference table. Ms. Grant pleaded, “No, no, no” and “Please stop”; McMahon responded with

“No means yes.” Ms. Grant again told them to stop. Instead, McMahon licked his fingers and

penetrated Ms. Grant and said, “Take it, bitch.” With each taking turns restraining her for the

other, Laurinaitis then joined by forcibly shoving his tongue, then penis, into Ms. Grant’s mouth.

         213.     McMahon, in an attempt to recreate the scenario the following week, texted Ms.

Grant to inquire whether both she and Laurinaitis were still at the office. Ms. Grant stated that

they were, but indicated: “That’s NOT an invitation to put me on the table.”

         214.     184. On June 23, 2021, around 11:42am, McMahon directed Ms. Grant – —in the

middle of a workday - —to meet him on a lower floor. When Ms. Grant arrived, McMahon led

her inside his private locker room, locked the door, and forced himself on her over a massage

table. Later that day, $15,000 in gift cards to Bloomingdales were purchased at McMahon’s

direction and delivered by McMahon’s personal assistant to Ms. Grant in her office.

         215.     185. On multiple other occasions while Ms. Grant worked under Laurinaitis,

including after McMahon’s promise that one-on-one encounters would end – —and even after

his wife moved across the country to join Laurinaitis – —he would call Ms. Grant to his office,

lock the door, unzip his pants, and instruct Ms. Grant to perform oral sex.

         216.     Eventually, after these in-office encounters, a badge lock was installed on the

outside of Ms. Grant’s door.




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         217.     186. Through all this, Ms. Grant noticed that the less she sexually engaged with

Laurinaitis, the less work she had as Laurinaitis began to belittle Ms. Grant in front of

colleagues. Fearing for herself and her future, Ms. Grant asked Laurinaitis whether he still

supported her promotion to vice presidentVice President. He deflected with an answer about

considering all options and changed the topic. The extreme uncertainty and fear for her future

exacerbated Ms. Grant’s physical symptoms of illness, including gastrointestinal issues and

vomiting, which continued to worsen over the remainder of her time with WWE.

         218.     During this time frame, McMahon continued to remind Ms. Grant of his control.

Ms. Grant felt watched and intimidated by McMahon and his executive enforcers, even while

she was outside of the WWE office.

         219.     McMahon would impulsively visit Ms. Grant’s office—in the middle of the work

week and in the presence of other employees—and complain when Ms. Grant was not at her

desk to serve him. He would consistently remind her that he was monitoring Ms. Grant, leaving

voice memos such as: “I’m at the fuckin’ office, pardon my French, I know where you are. And I

got people hanging off me on the left and the right and everything else. I mean I know you’re

sitting, I know where you’re sitting…”




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         J.       McMahon Uses Ms. Grant as a Sexual Pawn to Entice World-Famous
                  Wrestling Talent and to Keep WWE SuperstarBrock Lesnar Under
                  Contract with WWE.

         220.     187. WWE SuperstarBrock Lesnar is famous world-wide as a top talent formerly

with WWE with a large collective fan base that helpshelped generate viewership and drivesdrove

in-person attendance, all of which enrichenriched WWE and McMahon.

         221.     188. Upon information and belief, McMahon began to recruit WWE

SuperstarLesnar for a sexual encounter with Ms. Grant while she was still a coordinator in the

legalLegal department.            By July of 2021, McMahon informed Ms. Grant that WWE

SuperstarLesnar would be their next “playmate.”




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         222.     189. As in other instances, McMahon described his fantasy of seeing Ms. Grant

engaged in unmerciful sexual acts with WWE SuperstarLesnar during which he would “rip” her

open.

         223.     190. McMahon also confided to Ms. Grant that he wanted to have WWE

SuperstarLesnar under a new contract, while WWE SuperstarLesnar indicated an interest in a

return to other professional endeavors.

         224.     191. On or about July 12, 2021, McMahon directed Ms. Grant to create

personalized sexual content for WWE SuperstarLesnar. McMahon shared the photos with WWE

SuperstarLesnar and then informed Ms. Grant that “he likes what he sees.”:




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         225.     192. On July 21, 2021, McMahon flew and/or caused WWE SuperstarLesnar to

fly on a jet into a local airport and travel into Connecticut (across state lines) for what McMahon

described to Ms. Grant as a “business dinner,” as well as a sexual encounter with Ms. Grant in

McMahon’s condo.              Upon information and belief, the dinner was to discuss WWE

Superstar’sLesnar’s continued involvement with WWE. Prior to the “business dinner” with

McMahon, WWE SuperstarLesnar made a brief visit to Ms. Grant’s building. However, WWE

SuperstarLesnar did not return to the building for a sexual encounter because he was too

intoxicated and taken back to the plane.

         226.     193. Later that evening, after McMahon recounted the story about his dinner with

WWE SuperstarLesnar to Ms. Grant, he sought to salvage the night with a request that they “role

play” a sexual encounter, in which McMahon acted as if he were WWE SuperstarLesnar.

McMahon was so physically rough with Ms. Grant during this encounter, that Ms. Grant begged

McMahon to stop numerous times, including loud cries of “Help!” “I’m serious!” and “I’m

scared!” as he – —among other things – —penetrated her, fisted her, pulled her hair, pinned her,

shoved her, and open-palm slapped her. McMahon’s assault caused Ms. Grant to break down

weeping and curl into the fetal position with her arms pulled up to protect her face. McMahon

alternated between slaps and shoves before admitting that “I’m really fucking up with you right

and left tonight, huh?”

         227.     194. McMahon forbade Ms. Grant from leaving his condo that night unless she

could verbally assure him that there wasn’t a problem and everything between them was okay.

Notably, however, he made no effort to check on her well-being after she left his condo.




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         228.     195. On August 26, 2021, WWE held its second biggest annual event,

SummerSlam, in Las Vegas’ Allegiant Stadium. Around this time, McMahon and WWE

SuperstarLesnar privately reached an informal agreement about hisLesnar’s return.

         229.     196. That night, McMahon texted Ms. Grant a reminder that she was an enslaved

object to him: “I want to drive U lower and lower. So low that U might beg me to sell U”

(emphasis added). :




         230.     197. McMahon continued to advertise a sexual encounter with Ms. Grant to

WWE SuperstarLesnar during the formal negotiation of a new Booking Contract with WWE:




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         231.     198. In December 2021, McMahon gave Ms. Grant’s personal cell phone number

to WWE SuperstarLesnar and promised “she’ll do anything” requested of her.

         232.     Ms. Grant expressed her apprehension about the arrangement to McMahon and

tried to run interference on starting a sexual relationship with Lesnar.

         233.     199. In the days that followed, WWE SuperstarLesnar revealed a fetish to Ms.

Grant and tested McMahon’s promise that Ms. Grant would “do anything” with a request that

she send a video of herself urinating.

         234.     200. Unable to recognize herself, Ms. Grant went numb and obeyed. WWE

SuperstarLesnar informed Ms. Grant if she had not complied with the request, WWE

SuperstarLesnar would have lost any interest in her and then called her a “bitch.”

         235.     McMahon actively attempted to organize a sexual encounter between Ms. Grant

and Lesnar, stating: “U have to take a flight to Greenville South Carolina this Monday. Even if

it’s just to C Brock”.


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         236.     201. That same month, WWE SuperstarLesnar expressed to Ms. Grant his desire

to “set a play date” and have a sexual encounter. McMahon and Lesnar organized an encounter

in conjunction with Lesnar’s appearance at a show at Mohegan Sun in Uncasville, Connecticut,

with Lesnar even sending Ms. Grant the address for the hotel where he would be staying.

However, a snowstorm changed WWE Superstar’sLesnar’s travel plans and Ms. Grant ultimately

used the weather and COVID-19 as an excuse to back out.

         K.       McMahon Tells Ms. Grant That his Wife Has Learned About Her and
                  Pressures Ms. Grant for an NDA.

         237.     202. In early January 2022, McMahon abruptly distanced himself from Ms. Grant,

saying that he could not speak to or be in the same room as her. Simultaneously, Ms. Grant’s

closest friend, Resident Manager, abruptly ceased communications with Ms. Grant as well.

         238.     203. On January 9, 2022, McMahon agreed to speak with Ms. Grant at his condo.

During this meeting, McMahon told Ms. Grant that his wife, Linda McMahon, had learned about


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his relationship with Ms. Grant, that he was losing his condo, and that she would divorce him.

He added, too, that a public divorce would make Ms. Grant a headline.

         239.     204. Purportedly to salvage his marriage and avoid both the negative publicity and

other repercussions of a divorce, McMahon wanted to ensure that Ms. Grant would remain silent

about his personal misconduct in order to preserve his controlling interest in WWE. McMahon

told Ms. Grant that if she left WWE and signed an NDA, he was confident Linda McMahon

would not divorce him, he could remain in the condo, and Ms. Grant would avoid reputational

harm. At that time, Ms. Grant had expressed no desire take legal action.

         240.     205. McMahon instructed Ms. Grant that she should not go back to the office and

immediately lessen her involvement on open work items. Ms. Grant expressed concerns about

both her name being mentioned in the media and the loss of control over her image, especially as

McMahon had shared content of her for close to two years, and the ramifications for her career.

McMahon suggested that he would attempt to help keep Ms. Grant’s reputation intact, and that

he or WWE Corporate Officer No. 1Nick Khan would personally help Ms. Grant to find another

job.

         241.     206. McMahon also instructed Ms. Grant not to share this news with anyone, and

suggested she offer health-related excuses if asked about leaving WWE.

         242.     207. Regarding the NDA, Ms. Grant asked McMahon, “Is this when Jerry sends

the papers?” McMahon nodded and assured Ms. Grant that they would be “in the driver’s seat”

to iron out terms together but she would need an attorney to make things official and approved of

Ms. Grant asking Celebrity DoctorColker for an attorney referral.

         243.     208. Following this discussion, McMahon led Ms. Grant to his bedroom for

another sexual encounter.



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         244.     209. On January 14, 2022, McMahon sent Ms. Grant a to-do list for purposes of

effectuating the NDA, such as retaining counsel, and also included an offer for one-on-one career

coaching. McMahon suggested the list had been drafted by WWE Corporate Officer No. 2Brad

Blum.

         245.     210. Before Ms. Grant retained counsel, McMahon discussed the amount of

money that would be exchanged for the NDA and settled on a lump sum of $3,000,000 after Ms.

Grant told McMahon his initial offer of $1,000,000 was not enough to compensate for the lost

earning potential and the fact that she would be unable to continue the promised career trajectory

of Vice President, as well as failing to last as a Director for a full year.

         246.     211. Before Ms. Grant retained counsel, McMahon called Ms. Grant with an

update and informed her that McMahon’s attorney and counsel for WWE insisted on installment

payments due to “cash flow purposes.” When Ms. Grant responded that this reasoning did not

make sense for a billionaire, McMahon insisted that it was not his idea.

         247.     212. On or about January 19, 2022, Ms. Grant advised McMahon that she had

contacted Celebrity DoctorColker about an attorney referral, and on that physician’sColker’s

recommendation, and upon McMahon’s approval, she signed a retainer agreement with a lawyer

later that day.

         248.     213. On January 24, 2022, McMahon continued to engage in sexual text message

exchanges with Ms. Grant, including encouraging her to send an explicit photo to WWE

SuperstarBrock Lesnar. McMahon also requested Ms. Grant send him content she had sent to

WWE Superstar.Lesnar. At this same time, McMahon finalized a booking for Lesnar to perform

in a live event at Madison Square Garden, during which it was expected that Ms. Grant and

Lesnar would engage in a sexual encounter. Of course, McMahon understood this conduct



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would be a clear violation of the forthcoming NDA which he was coercing Ms. Grant into

signing.

         249.     214. The “negotiations” of the NDA were brief – —lasting only eight days.

During the nine days which he represented her, Ms. Grant’s attorney expressed apprehension

about moving forward so quickly with the NDA. Ms. Grant reminded McMahon that the NDA

ought to address people who knew about their relationship, including, but not limited to: WWE

Corporate Officer No. 1, WWE Corporate Officer No. 2Nick Khan, Brad Blum, John Laurinaitis,

and McMahon’s personal assistants. Ms. Grant and her attorney sought to incorporate the list of

individuals who had knowledge of the relationship into a Schedule A in the NDA, who were the

five people Ms. Grant would continue to interact with after her employment at WWE ended.

Ms. Grant’s requested revisions were flatly rejected by McMahon and WWE, who reverted to

their original draft rather than incorporate any of her proposed changes – —with the exception

that, as of the date of execution, Ms. Grant would not speak of the relationship. :




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         250.     215. On or around January 26, 2022, McMahon articulated an even more pressing

need to get the NDA signed immediately, informing Ms. Grant that he was under a tight deadline

to report pending or threatened legal actions to the WWE Board of Directors – —specifically the

Audit Committee – —and that McMahon and his attorney could not do so unless Ms. Grant

signed the NDA. He informed Ms. Grant that Board members were concerned about the delay.

         251.     216. Furthermore, McMahon repeatedly pressed Ms. Grant to stop her attorney

from any further “wordsmithing” and blamed Ms. Grant’s attorney for not understanding the

urgency of the situation. Also, despite anyhis previous approval, McMahon now expressed that

both he and his attorney had concerns about Ms. Grant’s attorney and warned her that her

counsel could not be trusted, which in turn caused Ms. Grant to question her trust in her personal

attorney.

         252.     217. On or around January 26, 2022, Ms. Grant became so overwhelmed that she

asked to simply give notice without the need for a payment, even offering to sign a napkin or

Post-It as a sign of goodwill. McMahon flatly rejected her desire to back out. McMahon knew

that Ms. Grant wanted out of the agreement, but was determined to silence her.

         253.     218. On January 27, 2022, just eight days after Ms. Grant had hired an attorney,

McMahon left Ms. Grant a lengthy audio message explaining why they needed to go through

with the NDA, pushing her to hurry up and sign the NDA and advising that he would be “double

fucked” if she did not (presumably referring to both his divorce and report to the Board of

Directors).     McMahon again rejected Ms. Grant’s desire to back out of the agreement,

acknowledging the extreme repercussions that he and WWE would face if she did not sign the

NDA. The transcript of that voice memo reads substantially as follows:

                  Hi baby I’m still... I’m packing up cause I gotta get out of here and go to
                  bed. I’m still at the office and I got a board meeting in the morning at 10

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                  o’clock it’s like Jesus fucking Christ. In any event, on the agreement
                  stuff, we have to do it and here’s why – ummm because there’s a new
                  twist in this fuckin’ thing – wow is this ever gunna end? – so there’s an
                  audit committee. It’s a public company and if we don’t get this done by
                  the 31st I’m fucked because McDevitt is in charge of the legal (voice
                  from conference room speaker nobody else on this call. Goodbye. It
                  sounds like the board room). It’s the conference room I’m in. Goodbye.
                  It’s the conference room. Ummm so McDevitt is in charge of the fuckin’
                  audit of the books kind of like thing. He’s got to tell the audit committee
                  there’s no lawsuits, there’s no pending this, there’s no that – kind of like
                  thing – and he won’t do and can’t do it legally unless I get this thing
                  signed. So we need to work on this really fuckin’ fast otherwise I’m
                  double fucked. I’ll be divorced aside from that; I’ll be fuckin’ ya know…;
                  I don’t know what this is going to do in terms of ya know of… Shit if he if
                  I don’t get it done, he’s got to go to the audit committee and say by the
                  way here where we’re say yada, yada, yada Janel …so now the board
                  knows my story, knows what’s going on and it’s like oh my God holy shit.
                  You know they kick people out of their own fuckin’ company.7 that’s not
                  gunna happen here but um oh my god it’s like public shit and all that kind
                  of stuff so.. I’m fucking tired of this shit but in any event, uhh Sorry to be
                  responding so late but um so we’ve got to get this fuckin’ thing done so
                  quickly baby. I had no idea that McDevitt was… well,…not turn on me
                  because that’s not really the case at all. It’s a legal deal, you know? And
                  he can’t say to the audit committee “No I never told him any of this stuff”
                  He wouldn’t know. But now he knows. And now he’s been involved in,
                  you know, in writing some of this and all that kind of crap and... I gotta
                  get this fuckin’ thing done or I’m double fucked. So let’s please you and
                  I… I can’t do it first thing in the morning cause it’s 10 o’clock but as soon
                  as we can. Let’s please get this thing done in some way somehow ok? I’m
                  sorry baby we have to do it this way because I’d like to do it on a napkin
                  too but now I can’t. Um so I’m kind of fucked. But that’s ok. Well it’s not
                  ok but let’s get this thing done please so we can go on about our lives. Ok
                  baby I’ll talk to you in the morning. I’m sorry to take up so much of your
                  time. Ok bye.

         254.     Furthermore, McMahon’s attorney who negotiated the NDA and is referenced in

the voice message—Jerry McDevitt—was also the person whom McMahon routinely and

painstakingly referenced when telling Ms. Grant about the high-powered attorney he had on




7
  Coincidentally, McMahon resigned approximately two years later, right after this case was filed. See Samantha
Delouya & Elizabeth Wagmeister, Vince McMahon, WWE founder, resigns amid sex trafficking allegations, CNN
(Jan. 27, 2024), https://www.cnn.com/2024/01/26/investing/vince-mcmahon-wwe-founder-exits-tko/index.html.

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speed dial. Namely, McMahon referred to Mr. McDevitt as someone who was “world class at

making problems go away.” All of this was known to Ms. Grant and being reinforced by

McMahon throughout the NDA process, while Ms. Grant was being represented by an attorney

she had never met in person and who McMahon viewed as merely a formality.

         255.     219. Between on January 27, 2022 and January 28, 2022, there were unresolved

edits that led to panicked phone calls, including an attorney confidentiality clause and signatory

line that Ms. Grant’s counsel said he would never sign. Also, the deadline to sign the NDA was

pushed up from January 31 to January 28, 2022.

         256.     220. McMahon continued pressuring Ms. Grant with calls, during which he

pleaded, demanded, threatened, and begged her sign the NDA and reminded her that by not

signing, she would jeopardize him, the companyCompany, and his family, and that she would

surely become the subject of national headlines and ruin her reputation if she did not sign the

NDA by the start of WWE’s live programming schedule on January 28. He reassured her that

nothing would change between them, and she would emerge with her reputation intact if she

would simply sign the NDA.

         257.     221. In a state of mental defeat and fear from McMahon’s threats, instilling a fear

in her that if she did not sign, he would expose her intimate content publicly, as well as any

narrative necessary—whether true or false—that could expose her to serious personal and

financial harm, Ms. Grant succumbed to his unrelenting pressurecoercion and signed the NDA

just before the deadline on January 28, 2022. Indeed, over the course of these several weeks

from early January until January 28, 2022, the nature of Ms. Grant’s mental state had changed

substantially—she feared she would never be free from McMahon and WWE. In addition to the

prolonged state of fear and anxiety that Ms. Grant had been living with since meeting McMahon,



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McMahon was now also adding this immense level of coercive control over everything involving

the NDA process, as illustrated by, for example, the voice memo transcribed above. It was not

by accident that McMahon had, since early in his abuse of Ms. Grant, painted his attorney, Jerry

McDevitt, as someone whom Ms. Grant should fear any time the name was brought up again in

the future.

         258.     The NDA includes an arbitration provision, which itself provides for

confidentiality:

         In the event of any dispute arising under or out of this Agreement, its construction,
         interpretation, application, performance or breach, the parties agree to first attempt to
         resolve such disputes informally and prior to taking any formal legal action to resolve
         such disputes. In the event any such dispute cannot be resolved informally, all parties
         hereto agree that the sole and exclusive legal method to resolve any and all disputes
         and/or controversies is to commence binding arbitration under the Federal Arbitration
         Act pursuant to the procedures of the American Arbitration Association and to do so by
         sealed proceedings which preserve the confidential and private nature of this Agreement.
         The parties agree to discuss the venue for any such arbitration proceeding if and when
         such a dispute arises which cannot be informally resolved; but in the event the parties
         cannot agree on a venue then the exclusive venue for any arbitration proceeding shall be
         in Stamford, Connecticut. The prevailing party, as determined by the arbitration tribunal,
         shall be entitled to recover from the non-prevailing party all of its attorney’s fees and
         costs.

         259.     To emphasize, the voice memo on January 27, 2022 was received by Ms. Grant

after any so-called “negotiating” engaged in by Ms. Grant in increasing the total amount payable

under the NDA. Similarly, it was received after she had been advised by an attorney that

McMahon was ultimately paying for. As a result, and as outlined above, the level of coercion,

fear, and undue influence being experienced by Ms. Grant shifted from early January, to the

point where she was now saying and doing desperate things in late January, like offering to

effectuate the NDA via signing a napkin and rushing to finalize the NDA in the face of coercive

voicemails being left on her phone with the intent to induce her to finalize an agreement.




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         260.     The duress experienced by Ms. Grant and the fraudulent inducement engaged in

by McMahon were also specific and unique to individual terms within the NDA, such as the

arbitration provision. Specifically, Ms. Grant was coerced and fraudulently induced to accept the

arbitration provision. This is illustrated, in part, by the fact that Ms. Grant was told by her

attorney that terms of the agreement (e.g., the arbitration provision) could be undesirable as

written, but given the perpetuated duress that had now been elevated by Ms. Grant’s chronic

abuser, McMahon, she was not able to make sound decisions regarding terms like the arbitration

provision.

         261.     The arbitration provision, individually and outside the general NDA agreement,

was entered into under duress and/or as result of fraudulent inducement engaged in by

McMahon, and the same is void as a matter of law.

         262.     222. On February 4, 2022, Ms. Grant was wired $1,000,000 as the first

installment of the NDA. On February 28, 2022, Ms. Grant was wired $10,000 to cover her

attorneys’ fees incurred in connection with the NDA. Both wires were sent with originator

described as “Vincent K. McMahon C/O WWF…, Brad M. Blum”, and originator address “1241

EAST MAIN STREET, STAMFORD, CONNECTICUT, 06902 UNITED STATES.”

         263.     223. On February 9 and 10, 2022, Ms. Grant gave notice to Laurinaitis and put

human resourcesHuman Resources at WWE on official notice that she was leaving WWE.

         264.     224. After signing the NDA, Ms. Grant continued to ask about who had told

Linda McMahon, as she was concerned about her ability to obtain employment in the future.

McMahon responded that it did not matter and that he was tired ofdeflected her questions.

         265.     WWE has emphatically and unassailably asserted that, as a company, it had no

knowledge of various settlement agreements, releases, covenants not to sue and/or



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non-disclosure agreements entered into by McMahon, including, of course, the NDA at issue in

this instant case. Specifically and by way of example, WWE has maintained the following:

                  On June 17, 2022, the Company and its Board of Directors announced that
                  the Special Committee was formed to investigate alleged misconduct by
                  Mr. McMahon, who remains a stockholder with a controlling interest, and
                  another executive, who is also no longer with the Company. The findings
                  of the Special Committee investigation identified agreements executed
                  by Mr. McMahon which were previously unknown to the Company.8

         266.     225. After the NDA was signed, McMahon, wearing only a white robe, met Ms.

Grant in his condo to review outstanding business items. As Ms. Grant was proceeding to the

door to leave, McMahon grabbed her arm before she exited and commanded her to do “one last

thing” and get “on your knees.”

         267.     226. As Ms. Grant knelt on the hard floor, barely a few feet away from the front

door, McMahon opened his robe and ordered her to “Eat him!” McMahon grabbed the back of

Ms. Grant’s head and slammed her face into his crotch a couple times until she gagged and

pushed him away, telling him to stop and that she couldn’t breathe. McMahon responded that

she wouldn’t get away that easily and held her head as he forced himself back in her mouth until

she had no air. Ms. Grant tried to push him away but he held her head firmly in place and loudly

commanded her to “Look up!” followed by “Take it, bitch.” They momentarily made eye

contact before McMahon’s force caused Ms. Grant’s body to convulse and retch with tears

streaming down her face. McMahon then released his hold and closed his robe as she stood up.

After leaving, Ms. Grant never saw McMahon again.

         268.     227. On March 2, 2022, while Ms. Grant was away on a trip to Florida, McMahon

called Ms. Grant to advised that it would probably be the last time she would hear from him and,



8
  See, e.g., WWE’s August 14, 2022 United States Securities and Exchange Commission Form 10-Q, at 28
(emphasis added).

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if she needed anything, to contact WWE Corporate Officer No. 1 or WWE Corporate Officer No.

2Nick Khan or Brad Blum. Over the course of an approximately half hour call, McMahon

lamented both his inability to focus on the upcoming WrestleMania and how his personal life

had blown up over the past few weeks. Towards the end of their conversation, McMahon and

Ms. Grant agreed to resume contact after WrestleMania. He also instructed Ms. Grant to

continue having sexual relations with other men, including WWE SuperstarBrock Lesnar, in the

meantime.

         269.     228. On or around March 4, 2022, WWE SuperstarLesnar messaged Ms. Grant

that he was in New York.                 In line with McMahon’s orders, Ms. Grant texted WWE

SuperstarLesnar explicit pictures.

         270.     229. On March 27, 2022, WWE SuperstarLesnar reached out to Ms. Grant again.

Ms. Grant interpretedunderstood that these back-to-back advances aswere an indication of

McMahon’s continued control.

         271.     230. On March 30, 2022, Ms. Grant’s counsel received a call from McMahon’s

attorney advising that there had been an anonymous email about the relationship between Ms.

Grant and McMahon and Laurinaitis. Later, in June and July 2022, stories were published

regarding the matter of McMahon’s multiple NDAs with various women associated with WWE

and others. Ms. Grant did not receive another payment under her NDA in February of 2023.

         272.     231. Further, despite assurances from McMahon that he would cover her medical

care and the costs associated with her tax liability for the $1,000,000 payment, McMahon has

refused to cover those costs. McMahon continued to pay for Ms. Grant’s medical care until

April 15, 2022, when it abruptly ceased.




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         273.     Later, in June and July 2022, stories were published regarding the matter of

McMahon’s multiple NDAs with various women associated with WWE and others.

         274.     Additionally, on June 13, 2022, Ms. Grant received an email to her personal

account from an attorney at Simpson Thacher & Bartlett LLP seeking to talk to her about an

investigation surrounding “[her] time at WWE, including matters relating to the January 2022

agreement between [her], Vince McMahon, and WWE.”




         275.     The qualitative scope of the investigation was confirmed and reiterated to Ms.

Grant and her counsel on multiple occasions by WWE’s General Counsel and Simpson Thacher

& Bartlett LLP on behalf of the WWE Board of Directors’ Special Committee, as investigating,




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among other things, “Mr. McMahon’s relationship with Ms. Grant and the circumstances

surrounding the settlement between [Ms. Grant], the WWE, and Mr. McMahon.”

         276.     Despite being told by her counsel that Ms. Grant was available and willing to

participate in the investigation, including through the substantial provision of relevant

documents, the Special Committee never interviewed her. In fact, Ms. Grant was actively

preparing for the investigation with her attorney. Instead, the Special Committee announced in

November 2022 that the investigation had been completed.

         277.     Ms. Grant did not receive another payment under her NDA in February of 2023.

         278.     As a result of the power dynamics and the trauma endured by Ms. Grant for so

many years by Defendants, Ms. Grant has continued to be in states of duress even after entering

into the NDA. The extent and specifics of Ms. Grant’s mental state at varying times will be

addressed by her providers and retained experts as appropriate.

II.      Gifts Given to Plaintiff during Time with WWE and Association with McMahon.

         279.     232. From 2019 until early 2022, McMahon provided Ms. Grant with “gifts” to

keep her under McMahon’s control. Upon information and belief, the gifts provided to Ms.

Grant included ones purchased by McMahon and expensed them to WWE.

         280.     233. Examples of the items received by Ms. Grant from McMahon in 2019

included the following:

         a.       Alternative ClinicPeak Wellness medical care and medical & cosmetic services
                  and products;
         b.       Clubhouse Access tickets to the Belmont Stakes;
         c.       WrestleMania private full day transportation & premium tickets;
         d.       A $2,000 Nordstrom gift card; and
         e.       A massive box of Godiva.

         281.     234. Examples of the items received by Ms. Grant from McMahon in 2020

included the following:


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          a.       Peak Wellness medical care and medical & cosmetic services and products;
          b.       a. $20,000 towards surgery (paid directly to a surgeon’s office);
          c.       b. Pearl/diamond pave lariat necklace from Betteridge in Greenwich, CT;
          d.       c. Blue cashmere knee length cardigan (Nordstrom);
          e.       d. Blue Burberry check cashmere scarf (Nordstrom);
          f.       e. Blue cashmere & fur hat (Nordstrom);
          g.       f. Grey cashmere shawl (Nordstrom);
          h.       g. Celine sunglasses (Nordstrom);
          f.       Cable knit throw blanket; and
          g.       Large bouquets of flowers delivered approximately every other week.

          282.     235. Examples of the items received by Ms. Grant from McMahon in 2021

 included the following:

          a.       Peak Wellness medical care and medical & cosmetic services and products;
          b.       a. 2022 BMW 430XI;
          c.       b. $5,000 gift certificate at Landphier Spa;
          d.       c. Two private chef-catered dinners in McMahon’s condo;
          e.       d. Gold & diamond pave paperclip necklace from Betteridge in Greenwich, CT;
          f.       e. $15,000 Bloomingdales gift cards;
          g.       f. Food assortment display & antique tea ceremony set from Saudi Arabia; and
          h.       g. Large bouquets of flowers delivered approximately every other week.

III.      Ms. Grant was a Subordinate and Vulnerable Victim to Predators, Not a
          Consenting and Willing Participant.

          283.     236. Ms. Grant was groomed and coerced by McMahon and Laurinaitis, and the

 WWE stood by and facilitated efforts to keep Ms. Grant employed by WWE to ensure

 McMahon’s continued sexual exploitation. In addition to what Ms. Grant (and her medical

 providers who examined her following the abuse) will testify to, there is ample other evidence of

 Ms. Grant’s mental state and her attempts to avoid the unfortunate circumstances she found

 herself in.

          284.     237. In January of 2021, Ms. Grant sent a message to Resident Manager stating

 that she was miserable at WWE: “I don’t say it to Vince but (as grateful as I am for my job & my

 salary, I actually am miserable... mismanaged all the time, they admit they don'tdon’t know what




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to do with me, nobody gave a fuck when I was harassed & retaliated against to the point my

reputation was questioned & my work was taken away).”

         285.     238. As further alleged throughout this Complaint, Ms. Grant was frequently

referred to as McMahon’s “bitch.” On multiple occasions, Ms. Grant objected to this treatment.

         286.     239. As alleged herein, before Ms. Grant was being routinely directed by

McMahon to engage in sexual contact with other men, Ms. Grant had expressed her

apprehension about McMahon’s “fantasy” texts manifesting and graduating into reality. An

example of McMahon’s fantasy talk follows:




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         287.     240. Further, atAt nearly all relevant times, Ms. Grant was an employee of the

WWE and could reasonably expect, at a minimum, to lose her position if she did not comply

with the wishes of McMahon.

         288.     McMahon recklessly obtained Ms. Grant’s nude photos while being filmed for a

documentary and shots of him viewing her nude images aired on Netflix in 2024 for the world to

see:




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IV.       McMahon Controlled WWE During Ms. Grant’s Employment, and the Company
          Knew, But Did Nothing About, McMahon’s Exploitation of Ms. Grant.

          289.     241. As detailed herein, WWE knew of McMahon’s illegal conduct and did

 nothing to stop it. This is self-evident from the numerous executive level and board members

 who were privy to McMahon’s involvement with Ms. Grant, as well as his prior incidents

 involving sexual misconduct.

          290.     242. For instance, in or around March 2021, Ms. Grant introduced herself to

 WWE Corporate Officer No. 1Nick Khan when they passed one another in the hallway. WWE

 Corporate Officer No. 1Khan responded by telling Ms. Grant that WWE Corporate Officer No.

 1he knew exactly who she was.

          291.     243. WWE Corporate Officer No. 1Khan maintained an office suite on the

 executive 4th floor of WWE’s company headquarters at 1241 East Main Street. Meanwhile, Ms.

 Grant’s cubicle in the company’s legalCompany’s Legal department was in a different building

 (1266 East Main) and across the street from WWE Corporate Officer No. 1’sKhan’s office. Ms.

 Grant had no physical presence at 1241 East Main Street until the beginning of February 2021,

 when she began to report to an attorney who kept an office in both buildings.

          292.     244. Given that WWE Corporate Officer No. 1Khan was a very high-ranking

 WWE officer and Ms. Grant was an entry-level coordinator in the legalLegal department, it is

 unusual that WWE Corporate Officer No. 1Khan would know who Ms. Grant was at all at that

 point, except WWE Corporate Officer No. 1that Khan knew of Ms. Grant at least in part by

 hearing about the ongoing exploitation of Ms. Grant by McMahon.

          293.     245. Following Ms. Grant’s messages to McMahon on March 9, 2021, McMahon

 summoned Ms. Grant to his condo that evening for a conversation during which McMahon

 confirmed that WWE Corporate Officer No. 1Khan, indeed, knew exactly who she was, as


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McMahon had met privately with WWE Corporate Officer No. 1 and WWE Corporate Officer

No. 2Khan and Blum and advised these individuals of McMahon’s connection to Ms. Grant.

         294.     246. McMahon continued this conversation by detailing to Ms. Grant that they

had expressed concern but were ultimately supportive. McMahon also advised Ms. Grant that

one or both of WWE Corporate Officer No. 1 and/or WWE Corporate Officer No. 2Khan and/or

Blum inquired whether Ms. Grant could be trusted, and that McMahon offered assurances that

Ms. Grant would not do something to hurt the WWE.

         295.     247. Knowledge on the part of WWE is further illustrated by the multiple

meetings Ms. Grant had about initial hiring and subsequent position changes, including a number

of such meetings with WWE Corporate Officer No. 2Blum and a voice memo McMahon sent

Ms. Grant the following morning, on March 10, mentioning the names of both WWE Corporate

Officer No. 1 and WWE Corporate Officer No. 2Khan and Blum in connection with the new

role. The transcript of that voice memo reads substantially as follows:

                  Yeah Brad, um, wants to talk to you or Nick about the, a new position you and I
                  kind of discussed. So that’s what the, that’s what he wants to talk about.
                  (laugh) ok bye.

         296.     It’s unusual for the Executive Chairman and CEO to name-drop two of the

company’sCompany’s highest-ranking officers in connection with a coordinator’s first job

promotion – —especially as there are Human Resources partners assigned to each department.




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         297.     Both Brad Blum and Nick Khan were actively involved in arranging an office

space for Ms. Grant, again an inappropriate task for executives of their high ranks.

         298.     248. WWE Corporate Officer No. 4Brian Nurse was a high-ranking legalLegal

department employee at WWE until around November 2020. Upon information and belief,

WWE Corporate Officer No. 4Nurse was terminated or asked to resign from WWE Corporate

Officer No. 4’shis post at WWE. McMahon expressed to Ms. Grant that WWE Corporate

Officer No. 4Nurse, while still employed at WWE, knew or highly suspected that a sexual

relationship existed between McMahon and Ms. Grant. Upon information and belief, WWE

Corporate Officer No. 4Nurse articulated WWE Corporate Officer No. 4’shis knowledge and/or

suspicion to at least one other executive.




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         299.     249. Knowledge on the part of WWE is further illustrated by the fact that Ms.

Grant’s presence became more visible over time, including during Executive Committee

meetings, which were attended by individuals who had either direct knowledge of McMahon’s

sexual exploitation of Ms. Grant or were otherwise suspicious. Given Ms. Grant’s length of

employment and job title, it was an abnormal sign of different and special treatment for her to

attend such meetings, especially when the executive head of the department, Laurinaitis, was in

attendance as well.

         300.     250. Notably, Ms. Grant inquired with both WWE Corporate Officer No. 1 and

WWE Corporate Officer No. 2Khan and Blum about whether it was appropriate for her to attend

these meetings. On one occasion, Laurinaitis brought Ms. Grant to an Executive Committee

meeting, and Khan openly acknowledged her presence there.

         301.     251. Additionally, WWE Corporate Officer No. 3, another high-ranking WWE

official and member of the WWE Board of Directors at the time of Ms. Grant’s employment

with WWE, motioned for Ms. Grant to sit in a chair near WWE Corporate Officer No. 3 at the

Boardroom Table during one of the meetings. Upon information and belief, WWE Corporate

Officer No. 3 knew of other instances of McMahon engaging in inappropriate sexual conduct.

         302.     252. Upon information and belief, numerous other independent contractors,

employees, as well as executives and/or Board Members within WWE, knew of or suspected

McMahon’s misconduct involving Ms. Grant, including by being shown explicit photos of Ms.

Grant by McMahon.

         303.     253. McMahon directed a single attorney to negotiate the NDA on behalf of

WWE and McMahon – —both parties to the agreement.




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         304.     254. McMahon’s abuse of Ms. Grant did not come as a surprise to anyone at

WWE because he had faced numerous prior accusations of sexual misconduct, and continues to

accumulate sexual misconduct accusations, including:

         a.       In 1994, former WWE referee Rita Chatterton alleged that McMahon had raped
                  her after luring her into a limousine to discuss her career. She recounted it for
                  New York Magazine: “I was forced into oral sex with Vince McMahon. When I
                  couldn’t complete his desires, he got really angry, started ripping off my jeans,
                  pulled me on top of him, and told me again that, if I wanted a
                  half-a-million-dollar-a-year contract, that I had to satisfy him. He could make me
                  or break me, and if I didn’t satisfy him, I was black-balled, that was it, I was
                  done.”

         b.       A former independent contractor with WWE alleged that in 2005, McMahon
                  assaulted her and derailed her career after she refused to engage in a sexual
                  relationship with him. In 2019, McMahon and this contractor signed a
                  confidential settlement agreement, whereby McMahon agreed to pay the
                  contractor $7.5 million over five years.

         c.       b. In February 2006, the Palm Beach Post reported that McMahon had shown
                  nude pictures of himself to a tanning booth attendant at Tanzabar in Boca Raton,
                  Florida, and subsequently “made unwelcome advances and finally cornered her in
                  a tanning booth and groped her.”29

         d.       c. A former spa manager at a California resort accused McMahon of assault at the
                  resort in 2011.

         e.       In October 2024, a group of five former WWE “ring boys” filed a lawsuit against
                  Vince McMahon, his wife Linda McMahon, and TKO alleging negligence for
                  failure to stop decades of sexual assault of underaged children perpetuated by
                  former WWE employees. The case is ongoing.

         305.     255. To further illustrate knowledge of the culture of sexual misconduct at WWE,

top level executives not only failed to properly investigate abuse, but also compounded Ms.

Grant’s suffering by making public statements that trivialized the harm perpetrated upon her.




29
   See Tanning Attendant Cries Foul, PALM BEACH POST, (Feb. 1, 2006),
                                                available                                               at
https://www.newspapers.com/clip/15341562/palm-beach-post-story-on-vincemcmahon/https://www.newspapers.com
/clip/15341562/palm-beach-post-story-on-vincemcmahon/ (last visited November 24, 2023).


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         306.     256. These are just a few examples as to how the WWE, and its most senior

officials, knew about and fostered a culture where the venture of harassment and sexual

exploitation of women was tolerated to further the business and financial interests of WWE.

         307.     257. Given, among other things, the history of misconduct involving other women

and boys, the notice provided by McMahon to senior leadership at WWE, rumors about the

relationship within WWE Headquarters, theMcMahon’s widespread sharing of Ms. Grant’s

pictures – —including her face – —to those inside the company by McMahon,Company, and the

atypical hiring of Ms. Grant and the atypical advancement of Ms. Grant within WWE, WWE

clearly knew of McMahon’s misconduct involving Ms. Grant and/or recklessly disregarded facts

available to them.

V.       Circumstances Surrounding the NDA, Its and Arbitration Provision, Their
         Invalidity, and McMahon and WWE’s Disregard for the NDA.

         308.     258. As detailed herein, the NDA signed by Ms. Grant, McMahon, and WWE

was entered into through coercive tactics, and it is legally unenforceable pursuant to federal

statute and common law. Exhibit A, attached hereto, is a true and accurate copy of the NDA.

         309.     259. The NDA violates the SpeaksSpeak Out Act and is thus unenforceable.

         310.     The arbitration provision violates the Speak Out Act and is thus invalid.

         311.     260. The NDA is also void and unenforceable because the confidentiality term—a

core term—is overly broad on its face. As written, it would prevent Ms. Grant from saying

anything to anyone about WWE or her employment there (which, of course, she would need to

do to apply for a job, for example), let alone exposing McMahon and others’ sexual assaults and

abuse of Ms. Grant. The NDAs that McMahon has used to silence other women may be equally

unenforceable if the same language was used.




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         312.     261. Ms. Grant was, moreover, coerced into signing the NDA merely eight days

after she first spoke to an attorney – —an attorney whom McMahon initially approved of and

then cautioned Ms. Grant against trusting – —before she was railroaded into rejecting all of her

own attorneys’ comments. This occurred because of relentless pressure, including implicit and

explicit threats, by McMahon.

         313.     262. The NDA did not even include basic terms she was promised by McMahon –

—including that he would pay for her lawyers, medical care, and taxes.

         314.     Additionally, and as detailed above, the arbitration provision, outside the context

of the NDA generally or as a whole, was entered into under duress and/or by fraudulent

inducement.

         315.     263. Regardless, even if itthe arbitration provision and/or NDA were enforceable,

McMahon has breached a core term of the NDA. He paid $1,000,000, but failed to make any

further payments, including the installment of $500,000 that was to be paid within 10 days of

February 1, 2023, under Section V.B of the agreement.

         316.     264. Furthermore, circumstances have changed in that Ms. Grant’s name has now

been publicly released, through no fault of her own, which impacts employment prospects and

has led to further trauma and humiliation.

         317.     In January 2025, the SEC charged McMahon for violating federal securities laws

by failing to disclose two settlement agreements totaling $10.5 million, one of which is the NDA

in dispute in this case.10 “McMahon consented to the entry of the SEC’s order finding that he

violated the Securities Exchange Act by knowingly circumventing WWE’s internal accounting



10
  Order Instituting Cease-And Desist Proceedings Pursuant To Section 21c Of The Securities Exchange Act Of
1934, Making Findings, And Imposing A Cease And-Desist Order, Exchange Act Release No. 102143, SEC Docket
3-22391 (Jan. 10, 2025), https://www.sec.gov/files/litigation/admin/2025/34-102143.pdf (the “SEC Order”).

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 controls and that he directly or indirectly made or caused to be made false or misleading

 statements to WWE’s auditor.”11

          318.     McMahon acted as if rules did not apply to him. “As a result of this conduct,

 McMahon violated Section 13(b)(5) of the Exchange Act and Rules 13b2-1 and 13b2-2(a)(1)

 thereunder” and “caused WWE’s violations of Sections 13(a) and 13(b)(2)(A) of the Exchange

 Act and Rules 12b-20, 13a-1, and 13a-13 thereunder.”12 He signed the NDA on behalf of WWE,

 and then actively worked to conceal the NDA from WWE, effectively allowing WWE to avoid

 SEC charges even though “WWE benefitted from the Settlement Agreements, receiving releases

 and avoiding reputational harm caused by allegations of misconduct by its CEO being made

 public.”13

          319.     The SEC’s charges provide further evidence of McMahon’s failure to adhere to

 the law and show he coerced Ms. Grant into signing an illegal NDA. McMahon cannot subvert

 securities law to conceal his illegal conduct and contract and then attempt to enforce that very

 same unlawful contract in this Court.

VI.       Ms. Grant’s Life After This Abuse and Resulting Damages.

          320.     265. As detailed herein, Ms. Grant was exploited during her time of employment

 with WWE and was subjected to countless depraved and humiliating acts, which has led to

 severe and permanent trauma. She has been further traumatized by having to relive those

 experiences when giving evidence to the government in connection with their investigations of

 WWE.




 11
    Press Release, U.S. Securities Exchange Commission, Vince McMahon, Former CEO of WWE, Charged for
 Failure to Disclose to WWE Two Settlement Agreements He Executed on Behalf of WWE (Jan. 10, 2025),
 https://www.sec.gov/newsroom/press-releases/2025-1.
 12
    SEC Order at ¶ 4.
 13
    Id. at ¶ 25.

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         321.     In early 2023, while Ms. Grant was cooperating with several days of Department

of Justice interviews concerning a criminal investigation into Defendants’ conduct, McMahon

threw naked allegations of NDA breach at Ms. Grant and thereafter proceeded to violate the

agreement himself. These intimidation tactics added to the enormous distress Ms. Grant was

already withstanding.

         322.     266. Indeed, Ms. Grant’s trauma (and ongoing fears of additional retaliation) was

so severe that she required extended inpatient treatment. Today, she lives with so much anxiety

and depression that she is unable to leave her residence for weeks at a time out of fear and

PTSD.

         323.     267. Due to this trauma and inability to leave her home, Ms. Grant was terminated

from employment on January 27, 2023 where she. She lost not only her dream job of managing

her building, but the only job she could procure without the need for any references. Ms. Grant’s

lost income is $80,000 per year.

         324.     268. The severe restrictions of the NDA have created a wedge in all of Ms.

Grant’s relationships and left her in a perpetual state of isolation, as her family has passed away

and she cannot (and does not) lean on the support of the community due to the NDA’s

restrictions.

         325.     269. Further, Ms. Grant has experienced weight loss, insomnia, rashes, flashbacks

to her exploitation, nightmares, panic attacks, and depression. Ms. Grant will go days without

brushing her teeth, taking a shower, or washing her clothes. On many days, she doesn’t leave her

bed.

         326.     270. Ms. Grant will prove at trial that she will need lifelong treatment because of

the pain and suffering inflicted upon her by Defendants.



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                                             CAUSES OF ACTION

                                           Count I
        Declaratory Relief – NDA Voided Under Speak Out Act, 42 U.S.C. § 19401 et seq.
                                 Against McMahon and WWE

         327.     271. Plaintiff incorporates paragraphs 1 through 270326 as if fully stated herein.

         328.     272. The NDA attached as Exhibit A was entered into on January 28, 2022.

         329.     273. The Speak Out Act, 42 U.S.C. § 19401 et seq., was enacted on December 7,

2022, and “appl[ies] with respect to a claim that is filed under Federal, State, or Tribal law on or

after December 7, 2022.” 42 U.S.C. § 19404.

         330.     274. The Speak Out Act defines a “sexual assault dispute” as “a dispute involving

a nonconsensual sexual act or sexual contact, as such terms are defined in section 2246 of title

18 or similar applicable Tribal or State law, including when the victim lacks capacity to consent”

and a “sexual harassment dispute” as “a dispute relating to conduct that is alleged to constitute

sexual harassment under applicable Federal, Tribal, or State law.” 42 U.S.C. § 19402.

         331.     275. The Speak Out Act provides that, “[w]ith respect to a sexual assault dispute

or sexual harassment dispute, no nondisclosure clause or nondisparagement clause agreed to

before the dispute arises shall be judicially unenforceable in instances in which conduct is

alleged to have violated Federal, Tribal, or State law.” 42 U.S.C. § 19403.

         332.     276. The allegations herein include sexual harassment and assault disputes as

defined by the Speak Out Act, and the NDA seeks to bar the claims brought herein.

         333.     An arbitration provision such as the one in this case can never be valid under the

Speak Out Act, as its effect necessarily act as a secondary means to silence victims and

survivors, which would undermine the Speak Out Act’s entire legislative purpose.



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         334.     277. Because the claims themselves constitute the dispute as of the date of this

Complaint filing then, pursuant to the Speak Out Act, the core term of the NDA, and thus the

NDA itself, isand the arbitration provision themselves, are judicially unenforceable and Plaintiff

is entitled to declaratory judgment.

         335.     And because the arbitration provision within the NDA cannot be valid under the

Speak Out Act, the arbitration provision, too, is judicially unenforceable and Plaintiff is entitled

to declaratory judgment.

                                                Count II
                         Declaratory Relief – NDA Voided Under Common Law
                                     Against McMahon and WWE

         336.     278. Plaintiff incorporates paragraphs 1 through 277335 as if fully stated herein.

         337.     279. The NDA appearing at Exhibit A is void and unenforceable pursuant to

Connecticut common law for at least five reasons.

         338.     280. First, the scope of the NDA, including the confidentiality provision, is

impermissibly broad. It provides Ms. Grant will not “disclose, discuss or reveal any claims

against, or information about, McMahon, her relationship with McMahon, WWE, or any

employees or independent contractors of WWE, to third parties, on social media, in any public

forum, or to any member of the media” (emphasis added). Read literally, this would prevent her

from disclosing the mere fact she worked for WWE in an interview or on her resume. Further,

“confidential information” was not defined, and thus is overbroad, particularly in light of

information that has since become public knowledge. There cannot have been a meeting of the

minds on the overly broad confidentiality provision.

         339.     281. Second, the NDA is invalid in that Ms. Grant entered into the contract under

duress and undue influence, as detailed herein. There was a drastic power difference and



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economic disparity: Ms. Grant, who had never held a paying office job in her life due to

caretaking for her parents, was up against McMahon and WWE – —titans of the wrestling and

entertainment worlds. The emotional and mental abuse and trauma endured by Ms. Grant further

compounded this disparity such that Ms. Grant felt like she did not have a real say or choice in

the matter. McMahon also exerted relentless pressure on Ms. Grant. As but one example,

McMahon left her an extensive voice memo shortly before the NDA was signed, wherein he

emphasized the public nature of the WWE and the consequences that could result if the NDA

was not signed before an audit committee convened.

         340.     282. Third, the NDA is a contract of adhesion; there was no meaningful choice for

Ms. Grant. Proposed revisions by Ms. Grant’s attorney were consistently and ultimately rejected

by McMahon’s attorney, and during that time McMahon was pressuring Ms. Grant to sign the

agreement.

         341.     283. Fourth, the NDA is substantively unconscionable in that it is clearly

one-sided. For example, the non-disparagement provision only applies to Ms. Grant and not

McMahon or the WWE. Further, although she was slated to receive $1,000,000 (and $2,000,000

in installments of $500,000 over the years), Ms. Grant also gave up her job at WWE as a result

of this agreement. Plaintiff’s Ms. Grant’s compensation is also out of line with what similarly

situated individuals have received. The agreement is even more one-sided with respect to the

WWE because only McMahon is responsible for payments. The WWE’s only obligations are to

not sue Ms. Grant and to write a favorable letter of recommendation to a future employer upon

request; notably, however, per the terms of the NDA, that letter would come from

now-fired/disgraced former employee Defendant Laurinaitis who raped and sexually assaulted

Ms. Grant.



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         342.     284. Fifth, the NDA is void as against public policy. The NDA purports to

silence a victim of unlawful sexual abuse and prevent her from taking steps to protect other

women at WWE. The policies at issue include those that were the impetus for the Speaks Out

Act.

         343.     285. Under Connecticut law, courts will not “blue pencil” contracts where the

unreasonable provision forms the heart of an agreement, such as here where the non-disclosure

provision forms the heart of the contract. Thus, the entirety of the NDA must be deemed void

and unenforceable, even if the confidentiality term were the only invalid term (it is not).

         344.     As detailed herein, arbitration provision contained within the NDA was entered

into under duress or as a result of fraudulent inducement, and the arbitration provision, separate

and distinct from the NDA, is invalid.

         345.     286. The NDA has, in any event, been breached by McMahon and the WWE in

that Ms. Grant did not receive a second payment of $500,000 within 10 days of February 1,

2023.

                                                Count III
                                Violation of TVPA, 18 U.S.C. §§ 1591, 1595
                                     Against McMahon and Laurinaitis

         346.     287. Plaintiff incorporates paragraphs 1 through 286345 as if fully stated herein.

         347.     288. At all times relevant, McMahon was engaged in travel throughout the United

States for purposes of conducting business in his position with the WWE.                       McMahon

communicated with PlaintiffMs. Grant while traveling across the country (and internationally) to

recruit, entice, obtain, provide, maintain and/or solicit PlaintiffMs. Grant for purposes of

engaging in sexual acts. He also flew others and/or caused others to travel to Connecticut,




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including Laurinaitis and WWE SuperstarBrock Lesnar, from out of state for the purpose of

sexually exploiting Ms. Grant.

         348.     289. At all times relevant, McMahon and Laurinaitis recruited, enticed, obtained,

provided, maintained, supervised, or otherwise solicited Ms. Grant to engage in sexual conduct

with the assurance that Plaintiffshe would be given a position at WWE, job security within the

WWE, and advancement within the WWE.

         349.     290. At all times relevant, McMahon and Laurinaitis knew that they would use

fraud or coercion (as they had done to other women in the past) on PlaintiffMs. Grant for sexual

encounters. McMahon and Laurinaitis offered job placement and security, as well as numerous

gifts and special treatment, and assurances of personal protections (i.e., McMahon’s financial

protection, reputational protection, and medical care) and promised these would continue if

PlaintiffMs. Grant remained loyal and obedient by engaging in the sex acts described herein.

         350.     291. McMahon and Laurinaitis were well aware that a job at WWE and,

advancement and protections outlined above were of significant value to PlaintiffMs. Grant and

used that against her.

         351.     292. As a result, McMahon and Laurinaitis were able to force, defraud, or coerce

Ms. Grant into continued sexual activity because of promises of job placement, job security, and

advancement with the WWE and personal protections outlined above.

         352.     293. McMahon knew that Plaintiff’sMs. Grant’s position would ultimately be

temporary, as numerous other women had been employed by WWE, only to be dismissed with

NDAs and releases.

         353.     294. At all times relevant, PlaintiffMs. Grant was subjected to coercion in that a

scheme, plan or pattern was in place that was designed to cause Plaintiffher to believe that



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failure to perform sexual acts as alleged herein would result in serious harm, including but not

limited to financial harm, reputational harm, invasion of privacy, loss of control over her image,

losing her job with WWE, termination from subsequent employment, and/or loss of career

trajectory.

         354.     295. At all times relevant, McMahon sought to exploit Plaintiff’sMs. Grant’s

vulnerabilities in that he knew she had been through past trauma, grief, and had been unable to

find employment prior to joining WWE.

         355.     296. At all times relevant, McMahon and Laurinaitis held positions of power over

Ms. Grant, controlled her continued employment with WWE, and pressured her to engage in sex

acts.

                                                Count IV
                Participating in Venture in Violation of TVPA, 18 U.S.C. §§ 1591, 1595
                                             Against WWE

         356.     297. Plaintiff incorporates paragraphs 1 through 296355 as if fully stated herein.

         357.     298. WWE knowingly participated in the trafficking described above in violation

of 18 U.S.C. § 1595 by benefiting from and knowingly facilitating the venture in which

McMahon traveled for WWE affairs across the United States and recruited or enticed females

such as PlaintiffMs. Grant into coerced sexual encounters on the promise of employment with

WWE, job security and advancement.

         358.     299. WWE knew, or recklessly disregarded, that it was the practice of McMahon

to entice, recruit, force, and/or coerce women into sexual acts based on the promise of a new life,

a job, an income, job security, and advancement within the WWE, including with respect to

PlaintiffMs. Grant. Alternatively, WWE reasonably should have known of these facts under the




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circumstances and is subject to liability pursuant to the civil remedy provision of the TVPA, 18

U.S.C. § 1595(a).

         359.     300. As detailed herein, WWE employees, executives, and Board Members were

aware of McMahon’s exploits involving PlaintiffMs. Grant. Some were told, some were shown

exploitative pictures, some witnessed unusual and/or overtly sexual behaviors by McMahon

and/or Laurinaitis, and others could not help but hear what was going on through the walls at

WWE’s headquarters.

         360.     301. As detailed herein, WWE had been privy to multiple allegations against

McMahon involving those similar in nature as alleged herein, prior to Plaintiff’sMs. Grant’s

employment with WWE.

         361.     302. Despite this knowledge, WWE continued to facilitate and/or supervise

McMahon’s wishes of hiring and/or advancing PlaintiffMs. Grant within the companyCompany.

         362.     303. As detailed herein, McMahon showed numerous WWE employees sexually

explicit photographs and/or video of Ms. Grant, which demonstrates the knowledge of those

specific employees and constructive evidence that other employees would have learned of this.

         363.     304. Upon information and belief, other WWE employees benefited financially in

helping to assist, support and facilitate the commercial sex acts of McMahon in that WWE’s

culture revolved around trust relationships, increased status with McMahon and prioritizing the

protection of the companyCompany. For instance, both WWE Corporate Officer No. 1 and

WWE Corporate Officer No. 2Nick Khan and Brad Blum continued to assist in maintaining a

position at WWE, as well as advancement opportunities, for Ms. Grant after being told of

McMahon’s relations with her. Upon further information and belief, other employees were

forced to resign or were let go if they knew of McMahon’s exploits and failed to assist, support



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and/or facilitate them, such as former WWE employee, WWE Corporate Officer No. 4Brian

Nurse.

         364.     305. WWE benefited financially from the commercial sex act venture

orchestrated by McMahon, including by having wrestling talent, such as WWE SuperstarBrock

Lesnar, sign new contracts with WWE after McMahon presented PlaintiffMs. Grant as a sexual

commodity for their use.

                                                     Count V
                                                    Negligence
                                                   Against WWE

         365.     306. Plaintiff incorporates paragraphs 1 through 305364 as if fully stated herein.

         366.     307. WWE has a responsibility and duty as an employer to ensure the safety,

protection, and well-being of its employees.

         367.     308. Notwithstanding its responsibility and duties, WWE knew, or reckless

disregarded, that it was the practice of McMahon and Laurinaitis to entice, recruit, force, and/or

coerce women into sexual acts based on the promise of hire, job security and advancement

within the WWE, including with respect to PlaintiffMs. Grant. Alternatively, WWE reasonably

should have known of these facts under the circumstances.

         368.     309. WWE did nothing to prevent McMahon’s and Laurinaitis’sLaurinaitis’

conduct or protect employees like Ms. Grant from it and took no appropriate actions against the

risk of harm.

         369.     310. As a result of WWE’s negligence, Ms. Grant has suffered damages in the

form of the harmful or offensive contact herein described, and the same caused pain and injury to

PlaintiffMs. Grant, as well as mental and emotional trauma that is permanent in nature as

described herein.



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         370.     311. Ms. Grant’s injuries and damages were caused by the negligence of WWE,

its employees and agents, for whose negligence WWE is liable in the following ways:

                  a.       WWE, by commission and omission, allowed and tolerated sexual assault
                           and humiliation and fostered a culture in which such acts would be
                           tolerated;

                  b.       WWE, by commission and omission, retained McMahon and Laurinaitis
                           despite actual and/or constructive knowledge of their propensity to entice,
                           recruit, force, and/or coerce women into sexual acts based on the promise
                           of hire, job security and advancement within the WWE; and

                  c.       WWE failed to warn Ms. Grant of the risk of harm to which she was
                           subjected while employed by WWE.

         371.     312. WWE owed Ms. Grant a duty of care, it breached that duty, and its breach

caused Ms. Grant to suffer the acts, injuries, and damages described in this Complaint.

                                                  Count VI
                                                 Civil Battery
                                         Against McMahon and WWE

         372.     313. Plaintiff incorporates paragraphs 1 through 312371 as if fully stated herein.

         373.     314. As alleged herein, PlaintiffMs. Grant was subjected to numerous instances of

civil battery after meeting McMahon and even after the NDA was signed, including by way of

the following examples:

             a. On July 21, 2021, McMahon demanded that PlaintiffMs. Grant “eat him” and
                perform oral sex. Ms. Grant pleaded that she couldn’t breathe and needed air and
                asked that the encounter stop. However, McMahon persisted and verbalized his
                role play fantasy while pretending to be WWE SuperstarBrock Lesnar. As Ms.
                Grant begged for the encounter to stop multiple times, including “Help!” “I’m
                serious!” and “I’m scared!” as McMahon – —among other things – —penetrated
                her, fisted her, pulled her hair, pinned her, shoved her, and open-palm slapped
                her. McMahon’s assault caused Ms. Grant to break down into visible weeping
                and curl up into the fetal position with her arms pulled up to protect her face.
                McMahon alternated between slaps and shoves while Ms. Grant remained
                motionless in the fetal position and wept “Vince, I don’t recognize you” two
                times. Only at that point, McMahon stopped.




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             b. After the NDA was executed, McMahon grabbed Plaintiff’sMs. Grant’s arm to
                turn her around when she was leaving, forced her to kneel, grabbed her head and
                slammed it into his groin while saying, “Take it, bitch.”

         374.     315. In all such instances, McMahon intended to engage in the harmful and

offensive contact herein described and complained of.

         375.     316. As a direct and proximate result, Ms. Grant experienced damages in the form

of the harmful or offensive contact herein described, and the same caused pain and injury to

PlaintiffMs. Grant, as well as mental and emotional trauma that is permanent in nature as

described herein.

         376.      317. In all such instances, McMahon’s conduct was malicious in nature in that he

sought to degrade, humiliate, and objectify PlaintiffMs. Grant for his own gratification.

         377.      318. WWE is vicariously liable for the conduct of McMahon described above.

                                                  Count VII
                                                 Civil Battery
                                         Against Laurinaitis and WWE

         378.     319. Plaintiff incorporates paragraphs 1 through 318377 as if fully stated herein.

         379.     320. As alleged herein, PlaintiffMs. Grant was subjected to numerous instances of

civil battery after meeting Laurinaitis. On numerous occasions, he pressed her to perform oral

sex for him on demand, including in his office within company headquarters, and even in the

middle of a workday while colleagues were busy at their desks.

         380.     321. During a June 15, 2021, encounter with McMahon and Laurinaitis in the

latter’s office, Laurinaitis shoved his tongue in Ms. Grant’s mouth after she had pleaded to stop

the whole encounter, then unzipped his pants and shoved his penis into Plaintiff’sMs. Grant’s

mouth.




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         381.     322. In all such instances of battery perpetrated by Laurinaitis, he intended to

engage in the harmful and offensive contact herein described and complained of by PlaintiffMs.

Grant.

         382.     323. As a direct and proximate result of the forgoing, Ms. Grant experienced

damages in the form of the harmful or offensive contact herein described, and the same caused

pain and injury to Plaintiffher, as well as permanent psychological and emotional trauma.

         383.     324. In all such instances, Laurinaitis’ conduct was malicious in that he sought to

degrade, humiliate, and objectify PlaintiffMs. Grant for his own gratification.

         384.     325. WWE is vicariously liable for the acts of Laurinaitis described above.

                                                Count VIII
                         Intentional or Negligent Infliction of Emotional Distress
                                       Against McMahon and WWE

         385.     326. Plaintiff incorporates paragraphs 1 through 325384 as if fully stated herein.

         386.     327. As detailed herein, McMahon intended to inflict emotional distress—or

knew or should have known that emotional distress was the likely result of his conduct.

         387.     328. McMahon’s conduct was extreme and outrageous. Examples include:

                  a.       McMahon sexually assaulted Ms. Grant on numerous occasions. He was
                           aggressive during sexual encounters with Ms. Grant to the point of
                           causing her pain, including during encounters she tried to stop.

                  b.       McMahon objectified and trafficked Ms. Grant. He demanded that Ms.
                           Grant engage in threesomes with other men and that she send explicit
                           photographs for him to share with other men, despite Ms. Grant on
                           multiple occasions explaining that she was hesitant to obeying, and all
                           while McMahon controlled Ms. Grant’s job security.

                  c.       McMahon regularly humiliated and degraded Ms. Grant. As one example,
                           McMahon defecated on Ms. Grant and directed her to continue sexually
                           performing while covered in his fecal matter.

                  d.       McMahon created an environment of fear and secrecy by warning Ms.
                           Grant of the grave consequences of not being discreet about their sexual

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                           encounters, while at the same time sharing explicit photographs of her
                           with others inside and outside of the Companycompany and directing her
                           to sexually service other WWE-affiliated individuals.

                  e.       McMahon sent perverted messages to Ms. Grant that involved the latter
                           being subjected to sexual scenarios involving extreme pain and
                           humiliation, including during instances when Ms. Grant clearly attempted
                           to avoid a text message exchange that was sexually charged. McMahon
                           would push back, question the PlaintiffMs. Grant and/or become cold or
                           distant if Ms. Grant pushed back or ignored his sexually charged
                           messages.

                  f.       McMahon promised other men that the PlaintiffMs. Grant would “do
                           anything” they desired and provided the Plaintiff’sthem her personal cell
                           number (without her permission) for the purpose of her performing and/or
                           providing humiliating sexual acts, such as exploitative pictures and
                           videos, including of her urinating. McMahon ordered Ms. Grant to report
                           all such exchanges to him.

          388. 329. As described herein, McMahon’s conduct caused Plaintiff’sMs. Grant’s

emotional distress, including in that her distress would result from manipulative and coercive

controlling conduct engaged in by McMahon.                        Further, Plaintiff’sMs. Grant’s resulting

emotional distress includes flashbacks and bouts of PTSD brought on by the conduct engaged in

by McMahon.

          389. 330. As described herein, Plaintiff’sMs. Grant’s emotional distress is severe, long

lasting, and permanent, in that, for example, she has needed inpatient and outpatient care

following her separation from WWE and that she continues to be impacted with distress and

resulting adverse consequences and diminished quality of life in her day-to-day life.

          390. 331. McMahon’s conduct was malicious in nature in that he sought to degrade,

humiliate, and objectify PlaintiffMs. Grant for his own gratification throughout her employment

with WWE.

          391. 332. WWE is vicariously liable for the conduct of McMahon described above.




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                                                Count IX
                         Intentional or Negligent Infliction of Emotional Distress
                                      Against Laurinaitis and WWE

         392.     333. Plaintiff incorporates paragraphs 1 through 332391 as if fully stated herein.

         393.     334. As detailed herein, Laurinaitis intended to inflict emotional distress—or

knew or should have known that emotional distress was the likely result of his conduct.

Laurinaitis’ conduct was extreme and outrageous, and examples of this include the following:

                  a.       Treated Ms. Grant as a sexual object over which he had been given
                           complete control by McMahon and forced Ms. Grant to sexually service
                           him on demand, including in his office at WWE headquarters.
                  b.       Forced Ms. Grant to walk to his hotel on certain mornings to serve herself
                           to him as “breakfast,” a euphemism for sexual service.
                  c.       Engaged in aggressive sexual encounters with Ms. Grant and McMahon,
                           including a sexual assault in a WWE conference room where he inserted
                           his penis into Ms. Grant’s mouth despite her protest.
                  d.       Despite being Plaintiff’sMs. Grant’s direct supervisor at WWE,
                           Laurinaitis would almost always conduct himself in a way that was overtly
                           sexual and objectified PlaintiffMs. Grant, including by asking for explicit
                           photographs and sexual encounters at WWE Headquarters.

         394.     335. As described herein, Laurinaitis’ conduct was the cause of Plaintiff’sMs.

Grant’s emotional distress, including in that her distress would result from unwanted conduct

engaged in by Laurinaitis, who was also her boss. Further, Plaintiff’sMs. Grant’s resulting

emotional distress includes flashbacks and bouts of PTSD brought on by the conduct engaged in

by Laurinaitis.

         395.     336. As described herein, Plaintiff’sMs. Grant’s emotional distress is severe,

long lasting, and permanent, in that, for example, she has needed inpatient and outpatient care

following her separation from WWE and that she continues to be impacted with distress and

resulting adverse consequences and diminished quality of life in her day-to-day life.

         396.     337. WWE is vicariously liable for the acts of Laurinaitis described above.




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WHEREFORE, Plaintiff respectfully requests:

                  a.       Declaratory judgment that the NDA is void and unenforceable, and does
                           not bar any of Plaintiff’s claims against Defendants McMahon and WWE;

                  b.       Judgment for compensatory damages, reasonable attorneys’ fees, costs and
                           punitive damages against Defendants pursuant to 18 U.S.C. § 1595 and
                           other applicable laws; and

                  c.       Such other and further relief as the Court deems just and proper.




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Respectfully, submitted, this 25th day of January 31, 20242025.

By:


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                                       CERTIFICATE OF SERVICE

         This is to certify that on January 31, 2025, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system and

by mail to all parties that are unable to accept electronic filing. Parties may access this filing

through the Court’s electronic system.


                                                       /s/ Erica O. Nolan
                                                       Erica O. Nolan




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                             1/31/2025 7:13:19 PM
  Style name: Default Style
  Intelligent Table Comparison: Active
  Original filename: Luna - Draft Complaint (Final).docx
  Modified filename: 653 FINAL 2025.01.31 Grant - Amended Complaint.docx
  Changes:
  Add                                                      911
  Delete                                                   667
  Move From                                                0
  Move To                                                  0
  Table Insert                                             0
  Table Delete                                             1
  Table moves to                                           0
  Table moves from                                         0
  Embedded Graphics (Visio, ChemDraw, Images etc.)         34
  Embedded Excel                                           0
  Format changes                                           0
  Total Changes:                                           1613
